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Agent Matthew Bryant (00:00:00):
Is that cool with everybody?

Chris Ogle (00:00:01):
(On speaker phone) Yep. It's cool with me.

Deidre (00:00:04):
(On speaker phone) That works.

Agent Matthew Bryant (00:00:06):
All righty, Paul, go ahead and introduce yourself and I kind of set up how I'd like for you to just kind of,
you're going to verbally tell your life story and talk about some of the things that we discussed.

Paul Malagerio (00:00:17):
Okay. Morning I'm Paul, can you guys hear me okay?

Deidre (00:00:21):
Yes.

Paul Malagerio (00:00:22):
Okay. I left Canada March 2013, moved to Natural Bridge Zoo in Virginia, where I was working with Carl
Molgenson and ended up marrying his daughter, Gretchen; was there till December 2014. I could go on
for hours about what I saw there, I just need to be asked more pertinent questions because where I'm
from in Canada, we never had inspections. It was pretty open. So my naive assumption was that I'd
come down to a country where people actually inspected [inaudible 00:00:59] facilities and things were
done more for species protection.

Paul Malagerio (00:01:04):
And then I got to learn a heck of a lot about how things really don't work. We ended up at Dr. Antal's
Facility in Kendall, Miami, where my wife was working for doc at a Jungle Island thing, paying her a 1,000
bucks a week. She's a nice, attractive young lady, now she's my ex-wife, and he liked her dressed up to
put on the show. So we lived on his property in Kendall for eight months. He fired her in March after the
HSUS undercover video came out from Natural Bridge Zoo and told us we need to leave. Well, we had
nowhere to go so April, May, June, July, August we finally got a message from Joe [inaudible 00:01:43]
who said, "Hey, you guys can come out here and I'll pay you and give you a place to live." So we thought
great, so I got to Joe's place in Oklahoma.

Paul Malagerio (00:01:54):
That would be August 2015 and we were there for eight months. I can go on about him for an hour but
what I mentioned to Matt is you probably have questions for me that I can't recollect right now, but
you're welcome to have my number, set up a time where you can sit and ask me specific things. This
would take probably a couple hours to go over. I've probably forgotten a lot more that I really wanted to
remember point being the stuff I saw there was not right. We left Joe's place, went to Safari's Sanctuary
in Broken Arrow and the wife stayed on to Joe's place. And then I also moved out to Nick's place out in

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Colorado Springs, the Serenity Springs Wildlife Center, where Daniel Chambers came out and stuff I saw
there for about seven weeks was pretty well worse than Joe's. So the question you're going to ask me is
why didn't I speak up?

Paul Malagerio (00:02:53):
And like I explained to Matt, when you have a pet mountain lion and a Geoffroy's cat and you're under
someone else's USDA permit you're pretty well held hosted to shut your mouth. Because a couple times
I did ask some question and was told to mind my own freaking business and when I did get in Joe's face
one day for 12 days he wouldn't allow me on the property to feed my cat or see my cat until my wife
said, "Well, I got to warn you, Joe. Paul's got a bit of a temper so he's coming to take care of his cat
tonight." That got a bit dicey. But anyway, he cleared it up, so point being that's why I've been silent up
until now and I'm not going to be silent anymore. July 2015, Tim Stark contacted me and said, "Hey, do
you want a job?"

Paul Malagerio (00:03:37):
And the way I got my foot in the door there is he hated Daniel Chambers who had worked for him for
almost a year and he couldn't say anything nice about him. And I said, "What's the deal?" He says, "400
a week, I'll give you a place to live." So I spent seven weeks there. I got a good hour or two about Tim
Stark or I'll share everything I saw at that place but it's just freaking horrible. So I'm not sure what
questions you want to ask me if I can't recollect, if it comes to me later I'll make notations so we can
discuss it at any point from now on. How's that? Did we lose them?

Deidre (00:04:17):
Hello?

Agent Matthew Bryant (00:04:17):
Are y'all still there? Did you hear any of that Deidre?

Deidre (00:04:20):
That last part I could not hear. It was very muffled, so I'm not sure what was going on.

Paul Malagerio (00:04:25):
Yeah, the point I tried to make, if this conversation isn't clear enough, you're going to have questions for
me about these people. So I've said to Matt that you can give my number out, we can schedule a time
where you can sit and ask me certain pertinent things that I'll recollect because after leaving these
places I tried to forget what I saw as quick as I could. I've also networked with some staff members from
Tim Stark's place who have, since I've left there have told me some more stuff that's been going on at
his place.

Deidre (00:04:56):
Okay.

Paul Malagerio (00:05:01):
So where do you want to go from here?

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Agent Matthew Bryant (00:05:03):
You guys, since we got you on the phone, y'all take the lead and y'all spend as much time with him on
Tim Stark that you want to.

Deidre (00:05:16):
Okay. Okay, Paul, let's see. Can you just verify the exact date, you said he contacted you in July 2015
offering you a position to live on the property. Is that correct?

Paul Malagerio (00:05:30):
Yes, it was. We spoke for probably a week or two on the phone, the end of June, beginning of July 2015.

Deidre (00:05:38):
Okay. Okay. And then did you move to the facility right after that week?

Paul Malagerio (00:05:48):
Yes, I left Colorado Springs and went directly to Charlestown, Indiana.

Deidre (00:05:55):
Okay. And then you said that he contacted you because he could not say anything nice about Daniel
Chambers?

Paul Malagerio (00:06:04):
Daniel Chambers was under his employee and I guess if you ever heard Tim Stark tough talk, he talks
tough, he's got quite a vulgar mouth on him. And he did nothing but shoot down Daniel, I guess he kind
of worked me that way because Daniel was at the place I was, screwing everything up, but I didn't have
anything nice to say about him either. So we bonded, I guess, out of the same sort of common enemy.
And then he offered me a job and I wanted to go to Colorado Springs and I said, "Yeah, let's go."

Deidre (00:06:34):
Okay. Okay. Well, after you arrived at the facility, you lived at the property in one of the campers?

Paul Malagerio (00:06:44):
Yes.

Deidre (00:06:46):
Okay. And then tell me just some details about, were you trained or it sounds like you have a lot of
experience. Did he just threw you right in, did you work with just certain animals only?

Paul Malagerio (00:06:58):
Every day he would delegate more tasks so my day would start at 7:30 and after doing my chores and
work, then I would also work security at his cub petting sessions. So the day would go till 10:00, 10:30 at
night seven days a week.

Deidre (00:07:15):
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Okay. Are you talking about the tiger time?

Paul Malagerio (00:07:17):
Yes.

Deidre (00:07:18):
Okay. Okay. And then when you were working there, what other employees were you working with? I
guess I would say close by or that you got to know?

Paul Malagerio (00:07:31):
Okay. There's a young lady named Jamie who is good friends with a volunteer who is a very good friend
of mine, a young man named Tim Clark. And Tim Clark actually, we keep in contact and we talk and he
had lunch with Jamie last week where Jamie told him that Tim Stark had declawed three tiger cubs. And
she said the smell was so horrible from the infection and then that they actually died along with two
other servals. And when Tim told me this, I just like, "What the fuck?" He said, "The powers that be are
aware of it." So I know that some of the staff has already spoken and been contacted. Tim Clark was
contacted, but he wasn't sure who was calling him. There's a lot of intimidation with Tim Stark, he tends
to intimidate people. He mentioned to me that he was personally suing nine USDA inspectors for $5,000
and because he had 7 million in an account, he didn't give a blah, blah, blah, blah, blah, blah, blah. It was
just bravado and arrogance. And just like Joe, just being a bully.

Deidre (00:08:45):
Okay. Okay. So, you're saying that you are still in touch with Tim Clark?

Paul Malagerio (00:08:50):
Yeah. Tim Clark was the volunteer, not Tim Stark.

Deidre (00:08:54):
Tim Clark, Tim Clark. Sorry, sorry. I don't know if I transferred that.

Paul Malagerio (00:08:56):
Yeah, it's a...

Deidre (00:08:58):
So when you were talking to him about the three tiger cubs declawed and other servals, how recent was
that?

Paul Malagerio (00:09:08):
He come to visit us here last week. And I said, "Do you know anybody that you've worked with that can
maybe come out here and help us work with some animals?" And I'd met Jamie and worked with her for
the time I was there. And I said, "She seemed very knowledgeable." So they're very good friends, they
went out for dinner so it was last week where he had dinner with her, where she verbalized about the
cubs. And he messaged me about that. But I didn't tell him I was going to tell anybody about it.


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Deidre (00:09:34):
Okay. So the source of information and that came from Jamie Brown to Tim, to you?

Paul Malagerio (00:09:42):
Yes.

Deidre (00:09:43):
Okay. All right. Okay. Okay. And then, but you are still talking to Tim Clark on a regular basis?

Paul Malagerio (00:09:53):
Yes.

Deidre (00:09:53):
And is he still going to the facility?

Paul Malagerio (00:09:56):
He was a volunteer there and he quit and left three different times, but the last time he left, he said he's
just had enough. He'll talk to me about anything that he saw there before I got there, but I pretty well
saw the same thing.

Deidre (00:10:08):
Okay. And then when you were there, were there any declawings at that time?

Paul Malagerio (00:10:17):
Any what?

Deidre (00:10:18):
Any declawings of animals when you were there?

Paul Malagerio (00:10:20):
Oh yes. There was seven tiger cubs there. One, 2, 3, four orange, one white, five and there was two
variations of the liger that he got from Joe and all seven cubs had all their claws removed and there was
ligature marks on the back of the liger variations where the fur had not grown back in yet. And Tim said
to me, Tim Stark said, he goes, "Yeah, I'm going to have to use a different vet. That wasn't very good."
Now I knew these cats because in, this is interesting, August 2nd, 2016, I was there when Trish Meyer
pulled up with Tracy Perry with a small hatchback car. And the topic conversation before this was Tim
Stark said to me, "I've already got homes for two of these fucking cats." That's how he would talk. And I
said, "Why don't you keep them?" He goes, "I haven't got room for these effing cats. I don't need them."
So when Tracy, are you still there?

Deidre (00:11:32):
Yep.

Paul Malagerio (00:11:32):
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Okay. When Tracy Perry pulled up, I'd never met her or Trish, Trish Meyer looked over and she knows
me from Facebook. She goes, "Oh my God, Paul's here." She come over and give me a big hug. I said,
"Oh, nice to meet you." Well, instead of just taking two cubs out of the cub area and sticking them in
little flimsy, fold-up containers back of the hatchback, he went over and brought two larger cats that,
kind of my mouth's hanging open, and he kind of wrestled and dragged them over. And he stuffed them
in the back of a hatchback and tried to get the thing closed without cats in the cats tail. And I'm going
like, "Why is this man stuffing four tigers in this car?" Now, it was just ridiculous. So none of the staff
there knew how to handle tiger cubs.

Paul Malagerio (00:12:20):
And this is what I do. I raised tigers, I absolutely love it. So there's six, seven volunteers sitting in the cub
petting area and they let the cats out and they're jumping up and biting and pulling pants. I says, "Did
Tim not show you guys how to deal with the cats?" They said, "No. He just said to play with them and
blah, blah, blah." And I said, "Okay, bring them back and let them back out." And when the cats came
out, I would put my hand up in chuff, make them stay and I had four to five on the ground, on their back
just by using my hand and the one white one come up and got me in the back.

Paul Malagerio (00:12:50):
And I kind of laughed because you're in a room with seven tiger cubs it's hard to control all them, but
the staff had no instruction even how to deal with these cats. They just let them run amuck. So that was
a big, in my mind, big liability issue. People were getting hurt while these sessions were going on and my
take on that is you're jeopardizing the animals' lives when you do that. But Tim did not care, did not
spend any time with them whatsoever. The only time you saw these cats is when he was sitting in his
little chair and they let them out for the public to play with.

Deidre (00:13:20):
Okay.

Paul Malagerio (00:13:24):
If I tend to go on a bit it's because I could just talk with these guys for hours. I don't really want to but I
will.

Deidre (00:13:31):
We appreciate that. Okay. So when the cubs were brought there what sort of a transaction was this?
You're saying these two ladies showed up at Stark facility.

Paul Malagerio (00:13:42):
Yes.

Deidre (00:13:43):
With the cubs or they were taking cubs?

Paul Malagerio (00:13:45):
Oh, they were picking up cubs from Tim because Tim would try to get rid of as many cubs as he could, as
soon as the sessions were over because he didn't want to feed them.
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Deidre (00:13:55):
Right. Right. And did you see any money exchanged?

Paul Malagerio (00:13:58):
Yes, I did.

Deidre (00:14:00):
Okay. Do you know how much or do you recall?

Paul Malagerio (00:14:03):
Well, on my phone I have a copy of the day that the paperwork was filled out because I spent about a
month with Trish Meyer in September. And I said, "Let me see the form that Tim gave you." And I'll give
a copy to Matt, it's on my phone and it's Tim's USDA permit. And it was that date and he circled
donation. Now I saw Trish Meyer with green paper in her hand, walked towards Tim, Tim looked at
Miranda who works on the property, the nice young blonde haired girl and Trish turned away from Tim
and handed Miranda this money. And she took it and looked back at Tim while Tim was sitting there
filling the paperwork out. And I made a reference later and Tim called me into his house for it. He said,
"Why are you telling my staff about that lady buying cubs?"

Paul Malagerio (00:14:59):
I said, "What do you mean buying Cubs? I didn't say anything about buying Cubs." He said, "Five of my
staff members said, you're talking to them about who bought cubs." I said, "No." I said, "The lady that
got cubs, I didn't say bought cubs." He says, "So you're saying five of my staff members are wrong?" He
was kind of getting my face about it, was coming close to him getting a good smack in the head but my
cats are there. Can't do it. So I said, "No." I said, "Got not bought." Because I didn't know for sure that
she had bought at that time. I didn't know, legal side or not of purchasing cubs. I did not know that you
could not purchase cubs. This is something I'm just, sorry, I'm Canadian. I didn't know it was illegal. So it
wasn't even an issue with me.

Paul Malagerio (00:15:37):
I didn't go there to rat on him. I didn't go there to see who bought cubs. I just made a comment, "The
lady that got cubs," because the girl was messaging me that Trish had said, "Hey, if you ever need a
place, come down to Houston. You can raise cats for me." And she seemed very nice. I ended up doing
that for about a month. So I said, "No." I said, "Got cubs, not bought." Now the money that changed
hands, I don't know how much it was. I don't know what it was for, but I just told you exactly now what
my observations were.

Deidre (00:16:08):
Okay. And then Trish Meyer, where is she located?

Paul Malagerio (00:16:12):
Houston, Texas.

Deidre (00:16:14):

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Okay. And then did she drive all the way from Texas to Indiana?

Paul Malagerio (00:16:21):
Well, Tracy Perry was the woman that delivered monkeys for Omar and her and Trish are monkey
brokers. They make good money selling monkeys and buying monkeys. So I don't know where they
came from, but it was in Tracy's car because I believe Tracy has a USDA permit, whether that matters or
not. When I spoke with Trish at length later, they went to a bank in O'Fallon, Missouri to deposit $6,000
for Tracy to pay bills, from a monkey transaction.

Paul Malagerio (00:16:56):
And the bank was making them wait and they couldn't figure out why. Well they found out part of the
money was counterfeit. So the Secret Service actually took them to the police station in O'Fallon,
Missouri and she named the largest tiger O'Fallon after that incident, because the cops were playing
with it; they thought it was really cool. They're all posing with the cat. They didn't really care. They don't
have anything to do with wildlife enforcement laws, but they let them go. And they said, "Okay, don't
worry about the money. We know that you didn't do it." And Tracy told the truth. So nobody was
arrested that day. So that kind of stood out as the funny name for the cat named O'Fallon.

Deidre (00:17:33):
And this is the same transaction we're talking about?

Paul Malagerio (00:17:38):
Yes, it was the day they left. So that can give you a timeframe, it was August 2nd, 2016, when they left
Charlestown, Indiana, they're driving back to I'm assuming Houston. Went through O'Fallon, Missouri,
went to a bank and had this issue with counterfeit money.

Agent Matthew Bryant (00:17:55):
But the transaction, they were buying cats from Stark. Stark wasn't giving them money. So they had this
$6,000 from some other transaction?

Paul Malagerio (00:18:07):
Yes. Yes, from a monkey transaction. Tracy had delivered a monkey for Omar.

Deidre (00:18:12):
Okay.

Paul Malagerio (00:18:17):
Now there's things that I know that I don't know exactly you need me to tell you about. So write a list of
questions for me. We can talk and I can go over it in my memory and come back because there's
probably things I saw that I don't know that aren't, that's something you need to know.

Deidre (00:18:40):
Okay. Okay. Were there any other transactions that stand out in your mind where you were either
involved or you witnessed directly with the animals and pickups?

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Paul Malagerio (00:18:50):
While on Tim Stark's property John Finley pulled up in the blue Ford pickup that I used to pick up
produce with at GW Zoo. And Tim Stark knew that there was some animosity between me and GW. So I
was driving on this little machine to go get tools, to do some work and John Finley was delivering tiger
cubs that day. And Tim Stark is waving at me and yelling, "Get out of here, go away, go away!" Because
he knew there might be an issue between John and I.

Deidre (00:19:21):
Okay.

Paul Malagerio (00:19:23):
And those were end up being liger liliger variations he was using for his next cub petting thing, which he
hated doing.

Deidre (00:19:31):
Oh wait, who hated doing?

Paul Malagerio (00:19:37):
Well Tim Stark had some beautiful cats there that he would feed every five days. And I would keep
saying, "Are we going to feed the cats today? Are we going to feed the cats today?" One day he took the
keys off his belt. He threw them at face. He said, "Okay, they're your cats now, here's the keys. They're
your fucking problem. Go feed the cats." And I love feeding cats. I don't believe in feeding cats every five
days. I mean, that's just ridiculous. So when I'm checking the cats every morning and I'm quite visual
about that, the beautiful breeding pair had closer to the house there was three beautiful tiger cubs
there. And I raced out to see him like the excited kid that I am. And I said, "Tim, Tim, Tim." I said, "Dad,
you got three cubs up there." And he looks at me and he says, "Jesus fucking Christ. I guess I got to do a
fucking show again next month. God dammit. Blah, blah, blah, blah, blah, blah, blah." I mean the man
was, I hate to say it, but he was just a complete asshole.

Deidre (00:20:39):
Yeah. We've heard that a time or two.

Paul Malagerio (00:20:40):
Oh, just complete and people say, "Why don't you punch him in the head?" Well, because I got a
mountain lion on his property and a Geoffrey's cat. I can't just punch people and lose my animals.

Deidre (00:20:49):
Yeah. Did you have your animals also at Stark's facility?

Paul Malagerio (00:20:53):
Yes.

Deidre (00:20:53):
Okay.

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Paul Malagerio (00:20:54):
That's why I had to keep my mouth shut.

Deidre (00:20:57):
Do you still have your animals?

Paul Malagerio (00:21:02):
Yes.

Deidre (00:21:07):
All right. And there's just two, right?

Paul Malagerio (00:21:07):
Pardon me?

Deidre (00:21:07):
You have two, right?

Paul Malagerio (00:21:10):
Yes. Mountain lion and a Geoffrey's cat.

Deidre (00:21:17):
Okay. Okay. So when the cats would show up, when you were talking about that delivery from John
Finley. So Matt, you might know more about this John Finley; he's affiliated in Oklahoma.

Agent Matthew Bryant (00:21:29):
Yeah. He's the right hand man for GW Exotics.

Deidre (00:21:33):
Okay. All right. So it sounds like he does the deliveries for Stark at this time?

Agent Matthew Bryant (00:21:38):
Correct.

Deidre (00:21:41):
Okay.

Agent Matthew Bryant (00:21:41):
What I know about that and I'll ask a question: I understand that what Stark does is wires money to Joe
and wires money to Joe for the purchase of these cats. But he wires it through instructions or an
agreement with Joe. He'll wire money to John Finley or something like that so that no connection is
directly made between Joe and Stark. Can you elaborate on any knowledge of that?


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Paul Malagerio (00:22:08):
Yes. And I believe one of the last deals was Tim Stark gave them a piece of machinery for a white lion.

Agent Matthew Bryant (00:22:18):
Yeah.

Paul Malagerio (00:22:19):
Rather than paying cash.

James Garretson (00:22:20):
I witnessed that.

Agent Matthew Bryant (00:22:21):
What was it?

James Garretson (00:22:23):
I remember that white lion, it was a white lion born probably five, six, seven months ago. And it might
have been a little longer, Tim Stark gave Joe a skid-steer for in lieu of the $20,000.

Agent Matthew Bryant (00:22:41):
It was a skid-steer?

James Garretson (00:22:42):
Skid-steer. Yeah.

Agent Matthew Bryant (00:22:43):
You know if it was stolen or not?

James Garretson (00:22:45):
Supposedly it's hot but I don't know.

Paul Malagerio (00:22:48):
I have a picture of it.

James Garretson (00:22:52):
I walk by it all the time...

Paul Malagerio (00:22:54):
Now Tim Stark on a personal note: you've seen his facility, as you go in public's only allowed to be there
for his sessions. They're told where to park, where to stand, where to wait. They can see 75 feet of cat
enclosures, which are the really nice ones that were built up nice. They can't see anything up the hill,
which any clear thinking human would be disgusted by. Tim was more interested in building his barn
across the road. So I'm a zookeeper and now I'm doing construction work and hanging sheet metal 18

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feet high at 100 degrees in the Ohio River Valley, sweating. And I want to go and feed and take care of
animals and he would basically say, "Well, I don't really give a shit about that. Just do your effing job,
blah, blah, blah."

Paul Malagerio (00:23:39):
And buying machinery, he'd had three skid loaders, a dump truck, drag lines, backhoes, scissor lifts, all
that was more important than asking him to do anything to take care of the animals. There was one
tiger there that was in a foot of swampy water and I said, "Hey, can we fix this up?" And he gave me this
little tiny mini loader, which is what as wide as a kitchen table to put gravel in for it, and that was
probably at least over a month after I was there. And up until that time, this cat was living in a swamp,
had no dry land on it whatsoever and never had any clean water.

Deidre (00:24:14):
Okay. Paul, do you have any information of anything within the last year, any transactions?

Paul Malagerio (00:24:32):
Just the white lion and skid loader trade.

Deidre (00:24:35):
Okay.

Paul Malagerio (00:24:37):
If you think it's pertinent, I can ask questions, discreetly and no one will know where it goes, if you'd like.

Deidre (00:24:48):
Okay, well Matt, I think that would probably be better for you to handle.

Agent Matthew Bryant (00:24:53):
Yeah...

Deidre (00:24:53):
Maybe direction on that with Paul.

Agent Matthew Bryant (00:24:55):
Okay.

Deidre (00:24:58):
Are you talking about reaching out to current Stark employees? Or are you talking about more of
sessions at Maldonado's facilities?

Paul Malagerio (00:25:10):
Probably both.

Deidre (00:25:12):
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Right. Yeah, it would. Okay.

Paul Malagerio (00:25:19):
Yeah. I'll run that through Matt so I don't interfere in anything.

Deidre (00:25:21):
Yeah. I mean, we both have different things going on, but they overlap tremendously and I was just
trying to figure out, Matt and I will talk and try to figure out the best way. But if you hear of anything in
the last year, or if you think of something; all the information is important.

Paul Malagerio (00:25:38):
Yes.

Deidre (00:25:39):
I'm just trying to go from current and kind of go back a little bit and just see what we have going on right
now.

Paul Malagerio (00:25:43):
Okay.

James Garretson (00:25:48):
Do you think Tim Clark would be interested in talking to somebody?

Paul Malagerio (00:25:52):
I can run that by...

James Garretson (00:25:54):
Because he might still be able to go out there.

Agent Matthew Bryant (00:25:56):
We're wondering if Tim Clark, since he's kind of left Stark now, if Tim Clark with encouragement from
Paul may want to cooperate with authorities.

Deidre (00:26:19):
Yeah.

Agent Matthew Bryant (00:26:19):
Yeah.

Deidre (00:26:20):
That would be great.

Paul Malagerio (00:26:22):

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I can ask.

Deidre (00:26:25):
Yeah. And you can provide our names and that way, when we reach out to him he won't feel like he's
being tricked.

Paul Malagerio (00:26:31):
Right.

Deidre (00:26:31):
Or that it's something that Stark has set up.

Paul Malagerio (00:26:33):
Right.

Agent Matthew Bryant (00:26:36):
Do you know of any other interactions? We have the Paula and Trish deal when they went up there and
they purchased cubs from him. We know that Finley used to carry tigers up there and that one white
lion was traded for a skid-steer. And we know that lion was valued at around $20,000. How many times
have you seen Finley or somebody, anyone from GW's place at Stark's?

Paul Malagerio (00:27:03):
John Finley, just that one time.

Agent Matthew Bryant (00:27:10):
And when was that?

Paul Malagerio (00:27:11):
That was August 2016. And the reason he was delivering cubs was to coincide with the three that were
born.

Agent Matthew Bryant (00:27:22):
So you weren't around when the white lion was traded for the skid-steer?

Paul Malagerio (00:27:25):
I was not.

James Garretson (00:27:27):
That was actually, I've kind of heard about all that deal.

Agent Matthew Bryant (00:27:30):
All right. Who?


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James Garretson (00:27:32):
I was actually there the day after Tim Stark had left, because he delivered it himself.

Agent Matthew Bryant (00:27:39):
Stark delivered that skid-steer? Did he take the lion back with him?

James Garretson (00:27:50):
Yeah, because Low was pissed off because he expected half the money and Joe just traded it for the
skid-steer. He supposedly wanted half of it to set up his...

Paul Malagerio (00:28:03):
Mall.

James Garretson (00:28:03):
At the time is the mall location. The Neon Jungle. You know that whole mall shut down?

Agent Matthew Bryant (00:28:17):
I've got Trish Meyer. She's a friend of yours?

Paul Malagerio (00:28:21):
Yes.

Agent Matthew Bryant (00:28:23):
Do you trust her or you think she's in it for the money?

Paul Malagerio (00:28:27):
Being that I'm not really too trusting of anybody else anymore, I actually spent three weeks with her and
her family in Houston, Texas. And she had beautiful marmosets, a fox, pet skunk, what really stood out
about her is she had a turtle that she's had for 23 years and she was 10 years old in the bathroom sink.
She took amazing care. Her daughter prepared two meals a day for each and every marmoset. Joe
hunted her down, caused her a world of grief.

Agent Matthew Bryant (00:29:03):
Why?

Paul Malagerio (00:29:05):
Because he saw a picture of a tiger in a dog crate in her living room and Joe and his minions went after
her. So it was September, I believe 27th, Saturday night where the Harris County police came to the
home and they came in and my mountain lion's in the garage and there was a white tiger cub there.

Paul Malagerio (00:29:26):
And then the fish and game guys came in, one was South African and after living in Africa, I spoke with
them a bit. And they looked around and they said, "The animals are in great care." They've watched her

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on Facebook. They've got complaints. They asked where the other tigers were and she told exactly
where one went to a friend up near Rusty Waddle's place in northern Texas; that was O'Fallon because
he got too big for the house. And I said, "Trish, this cat shouldn't be here." She said, "Fine." The other
two went to friends of hers and they were cubs. They weren't, it was not a danger issue to them. They
lived in the house with the kids. So can you still hear okay?

Deidre (00:30:04):
Yes.

Paul Malagerio (00:30:06):
Okay. So point being the police all did their selfies with the marmosets, they left. The fish and game guys
were nice gentlemen. The one young daughter was 14 and she was really nervous. And the policeman
said, "Why?" and Trish said, "Well, my kids are afraid of the police because of what they've seen on
social media." And this nice man who was a father of six kids sat down and talked to her. Fish and game
guy, he says, "Young lady, please don't listen to social media. I'm a father. I have six kids. We didn't
come here to hurt you. We're not going to take your mom to jail. We're not taking any of the animals.
Everything's fine."

Paul Malagerio (00:30:41):
Everyone shook hands and left. I left there, the following Monday got my permit, went back to
Oklahoma, a month and a half later when Trish moved to Nye County, Nevada, after talking to the
sheriff, the police came and arrested her after they arrived for child endangerment due to the incident
the following September. The case ended up getting dropped because basically you can't go back and
charge someone for child endangerment when you left them in a home with supposed wild animals and
didn't take the child or the kid out.

Paul Malagerio (00:31:20):
And this was all instigated by Joe Exotic. They took Trish to jail, it took three weeks to transfer her back
to Harris County. When she went back to her home, her animals were gone. The landlord stole her
marmosets that she'd had for years, her house cats, one was laying dead in the backyard. The kids, the
fathers came and got took them, her furniture was missing, her clothes were all gone. And it just broke
my heart to see that because this woman actually really cares about the animals and it was a pretty
tough time for her. She's a very nice person and I would support her.

Deidre (00:31:57):
And when did all this happen?

Paul Malagerio (00:31:59):
This was September, October, November 2016.

James Garretson (00:32:03):
Didn't the cats...

Deidre (00:32:04):
2016.
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Paul Malagerio (00:32:06):
Tim's. Okay. The reason I'm telling you this is the cats I'm talking about that Trish had in Houston were
the cats that she got from Tim Stark.

Deidre (00:32:14):
Okay.

Paul Malagerio (00:32:14):
And I've got pictures of these cats, not that I was building a case it's because I love hanging out with
tigers; they're pretty cool when they're handled from properly.

Deidre (00:32:26):
Right. And then were there records created? Did she purchase them?

Paul Malagerio (00:32:31):
Well, her transaction with Tim Stark I didn't discuss it with her at length. At that time I didn't know good,
bad or otherwise. I remember, like I said, being reprimanded from Tim for referring to them as got or
bought or whatever. I didn't know it was legal or illegal. I don't know how much money was in her hand.
I just shared my complete observation.

Deidre (00:32:52):
Right. When you were talking about the cash from that transaction also you mentioned her marmosets
were also dead when she came back? But she didn't get those from Stark.

Paul Malagerio (00:33:04):
No. No.

Deidre (00:33:05):
Okay.

Paul Malagerio (00:33:07):
Most of her deals with primates or simians would be through Omar and through Tracy Perry. Now she
did end up patching things up with Joe and purchasing more tiger cubs from him the past year and they
were delivered by Jenny Brewster is it?

James Garretson (00:33:28):
Brister.

Paul Malagerio (00:33:28):
Brister.

Agent Matthew Bryant (00:33:31):
And she purchased these tigers?

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Paul Malagerio (00:33:32):
Yes.

Agent Matthew Bryant (00:33:34):
How do we know that?

Paul Malagerio (00:33:36):
Because I told her in Illinois I was looking for tiger cubs. And she said, "Well Joe's got some, he wants
$2,500 for him."

Agent Matthew Bryant (00:33:41):
But how do you know she purchased them and there wasn't a deal worked out or a trade.

Paul Malagerio (00:33:47):
She told me.

Agent Matthew Bryant (00:33:48):
She said she bought them?

Paul Malagerio (00:33:49):
Yeah. And then Jenny would charge to transport them.

Agent Matthew Bryant (00:33:56):
How many did she purchase?

Paul Malagerio (00:33:58):
I'm thinking at least a half dozen and then she had one liger variation. It might've been the [inaudible
00:34:08] or whatever so it's a grandparent of it. I can't keep track of it all.

Agent Matthew Bryant (00:34:12):
So six tigers plus some liligers?

Paul Malagerio (00:34:14):
Yes. Now she put all this on Facebook and then I had conversations with her. I said, "Please Trish, I mean
I know you love your animals, but you go on Facebook and you got PETA, you got haters out there." And
then she told me that she stopped doing it. She got rid of her cats, didn't ask where they went; obviously
a good home. She wouldn't just give them to anybody. And she said she's not going to be doing that
anymore. And I said, "That's probably good." I said, "You can't trust Joe, he'll sell you a cat and then burn
you for having it."

Agent Matthew Bryant (00:34:42):
Right.


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James Garretson (00:34:45):
Just push it.

Agent Matthew Bryant (00:34:59):
All righty, so when was that purchase of those tigers from Joe?

                                      PART 1 OF 5 ENDS [00:35:04]

Agent Matthew Bryant (00:35:02):
When was that purchase of those tigers from, Jim?

Paul Malagerio (00:35:04):
Through Trish Meyer?

Agent Matthew Bryant (00:35:05):
Yeah.

Paul Malagerio (00:35:07):
Going back on her Facebook page in the past year, she's continued to get cats from Joe. She's purchased
them through Tracy, I think at first, and then Jenny. Jenny became the transporter for Joe.

Agent Matthew Bryant (00:35:22):
How does that work with Jenny and Tracy when you have a transporter? I'm familiar with Michael and
Jenny Brister. Two part question for you to be thinking about: Michael and Jenny Brister's interaction
with Tim Stark, but then my primary point of the question is when you have a transporter or a broker,
because I know Jenny and Michael Brister also kind of work as brokers like Tracy does. How does that
work? How does that whole operation work?

Paul Malagerio (00:35:54):
Well, due to the past few weeks of my interest in this, I offered to purchase a cub from Joe through
Jenny.

Paul Malagerio (00:36:05):
So I contacted Tracy Perry first and said, do you know who can get me tiger cubs? And she says in a text,
contact Jenny. So I sent a message to Jenny and she says, "Well, like who are you?" And I forwarded the
message from Tracy saying, Tracy suggested I talk to you about getting a tiger cub. And she said, "Well,
her and I are no little longer friends, because she ripped me off for $6,000." Well, welcome to the zoo
industry. So, I talked to her and she said, "There's one available for $2,500." No, for $3,000. I kept the
information on that. I was waiting for direction to get through. I wasn't doing this on my own.

Agent Matthew Bryant (00:36:47):
Right.

Paul Malagerio (00:36:48):

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I was doing it. Okay. You understand the background of that.

Agent Matthew Bryant (00:36:49):
Yeah.

Paul Malagerio (00:36:51):
So you need to understand, I wasn't doing this for myself. I was doing it to help out what you people are
working on right now. And then it was put on hold, but she would, I'm assuming going pick up the from
Joe, mark it up, $500,000, deliver it to me and then go back and you know, that's her job.

James Garretson (00:37:13):
The going rate of my orange tigers to Joe is $1,500.

Agent Matthew Bryant (00:37:16):
So, Joe gets your assumption, or maybe you have knowledge of this. Joe say... contacts these brokers,
Tracy or the Bristers and says, "Hey I got tiger cubs-

Paul Malagerio (00:37:27):
Yes.

Agent Matthew Bryant (00:37:27):
... I need to get some sold."

Paul Malagerio (00:37:28):
Yes.

Agent Matthew Bryant (00:37:29):
The Bristers start working their contacts and become the go-to. So they know what inventory is available
for Joe.

Paul Malagerio (00:37:37):
Yes.

Agent Matthew Bryant (00:37:37):
They make the deals. They go back to Joe and say, "Hey, I got this one tiger cub sold."

Paul Malagerio (00:37:43):
Yep.

Agent Matthew Bryant (00:37:44):
Joe says, "Okay." Do the Bristers pay Joe, or do they wait for the sale of it, and then the Bristers wire
money back to Joe? How does all that work?


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Paul Malagerio (00:37:53):
My assumption from what I've earned so far is, because Jenny saw my Facebook page realizes who I am
and who I'm not. She would've met me somewhere with a tiger cub, and I would've handed her cash for
it. She would've driven one way. I would've gone the other. I wouldn't have talked to Joe. If she had said
to Joe, "It's for Paul Malagerio," depending how desperate Joe is for money, he would've marked it up or
maybe given a cub he knew he was going to die, because he doesn't like me.

Agent Matthew Bryant (00:38:20):
Okay.

Agent Matthew Bryant (00:38:23):
I guess, does Joe know that his tigers are being sold, and where they are being sold to?

Paul Malagerio (00:38:32):
Joe doesn't care as long as somebody shows up with money.

Agent Matthew Bryant (00:38:35):
So when the Bristers show up and say, "I have your tiger sold for $3,000." Joe has to create a transport
form or an acquisition disposition form. He has to put the name of where the tigers are going on this
form. Do the Bristers tell him who's buying the cub, or does he make up a name, or do you have any
knowledge of that?

Paul Malagerio (00:39:02):
My brief conversation with Jenny is Joe doesn't know where it's going, who it's going to and doesn't
even ask. He couldn't care less. As far as he knows, once he hands it to Jenny he's no longer part of the
transaction in his mind.

Agent Matthew Bryant (00:39:14):
But he has to create the form.

Paul Malagerio (00:39:17):
Mm-hmm (affirmative).

Agent Matthew Bryant (00:39:18):
So, he has to put somebody's name on who's it going to.

Paul Malagerio (00:39:22):
Well, if you'd like this week, we could test that out. But I left it open with her. She said, "Do you still
want it?" And it was [inaudible 00:39:34] $4,000. And I said, "Oh, I found two for $3,000." And she
dropped the price down to $3,000 for the one cub. So I realized then how much she was making on it.

Agent Matthew Bryant (00:39:43):
Yeah.

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Paul Malagerio (00:39:43):
But the door was still open there.

James Garretson (00:39:45):
And that's the same cub Joe tried to sell to make the $1,500 when I was out there.

Agent Matthew Bryant (00:39:49):
All right. And it is a tiger?

James Garretson (00:39:52):
Yeah. It was an orange tiger.

Agent Matthew Bryant (00:39:56):
Have you ever known the Bristers to have any interaction with Tim Stark?

Paul Malagerio (00:40:01):
No.

Agent Matthew Bryant (00:40:04):
Tracy is the primary broker that deals with Tim Stark?

Paul Malagerio (00:40:10):
I only know that from the one day I was there. I actually was there and saw.

Agent Matthew Bryant (00:40:14):
Tim Stark ever received any primates?

Paul Malagerio (00:40:19):
I know he does, but I don't know where they came from.

Agent Matthew Bryant (00:40:22):
What primates has he received?

Paul Malagerio (00:40:26):
He'd need lemurs for his show.

Agent Matthew Bryant (00:40:29):
Ring-tails?

Paul Malagerio (00:40:30):
Yep. Also what was the other monkey? What they call it a peanut? He likes the young baby monkeys, so
the young girls can handle them, and something that's, you know? Because he knows at certain age

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they're going to start biting. And that's when people just never see them. The basement of his house,
he's got two by two by two cages with animals that have never seen daylight.

Agent Matthew Bryant (00:40:55):
Yeah.

Paul Malagerio (00:40:55):
And where they all go.

Agent Matthew Bryant (00:40:59):
But when you were there he had ring-tailed lemurs?

Paul Malagerio (00:41:02):
Yes.

Agent Matthew Bryant (00:41:03):
Any idea where they came from?

Paul Malagerio (00:41:06):
I'm assuming Joe. And any other monkeys he had would come through Omar, through Tracy.

Agent Matthew Bryant (00:41:22):
Has Joe ever bred any monkeys at his place?

Paul Malagerio (00:41:27):
Not while I was there.

Agent Matthew Bryant (00:41:31):
Where does Joe get his monkeys from?

Paul Malagerio (00:41:33):
Omar and from people donating them.

Deidre (00:41:46):
Hello?

Agent Matthew Bryant (00:41:46):
Yeah. We're still here. Did you hear any of that?

Deidre (00:41:50):
No. For some reason we're completely silent for a minute.

Agent Matthew Bryant (00:41:54):
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I asked questions about primates.

Deidre (00:41:57):
Okay.

Agent Matthew Bryant (00:41:58):
And primate's going to Tim Stark, and he says he gets his primates from deals set up between Tracy and
Omar or from Joe Exotic.

Deidre (00:42:10):
Okay.

Agent Matthew Bryant (00:42:14):
Why do they right donation on the form?

Paul Malagerio (00:42:21):
The more I've learned about that, I just assumed it's because to save money on taxes. Because if they
put a price on, they'd have to pay taxes. But then I've learned from Lynn Culver, about the Lacey Act.
And Lynn Culver told me there's something called the Lacey Act where it's illegal to... or, sorry, Morgan
Simpson first told me it's illegal to purchase tigers in this country. And then, Lynn Culver told me about
illegally transporting them. She says it's a law that she doesn't know has ever been enforced, where you
can't legally transport tigers across state lines.

Paul Malagerio (00:42:58):
And that's when I started to go, like, "Oh really? Well I saw this and I saw that." I mean, I didn't know at
the time it was illegal. Not that I was there to, you know, spy on them, but... With Tim Stark because of
how he is, I just assumed so he wouldn't have to pay taxes on it, because he could not help but brag
about how much cash he had. He bragged about having $7 million in one bank account, and another
bank account, he had enough money to pay his staff for five years.

Agent Matthew Bryant (00:43:31):
Did you hear that, Deidra?

Deidre (00:43:31):
Yeah.

Paul Malagerio (00:43:31):
I don't know if there's any truth to it, but, you know, he likes to brag.

Deidre (00:43:42):
Did he always pay you?

Paul Malagerio (00:43:44):


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Yes. It was through a pay company where they didn't handle any of the money. I would get handed a
check with a pay stub coming from a professional company that handled their staff wages.

Deidre (00:44:02):
Okay. And when he mentioned that he had $7 million in a bank account...

Paul Malagerio (00:44:06):
Yes.

Deidre (00:44:06):
... and then he said he also had another account. So he mentioned two accounts?

Paul Malagerio (00:44:10):
Yes.

Deidre (00:44:11):
Okay.

Paul Malagerio (00:44:14):
It's the New Washington State Bank in Charlestown, Indiana.

Deidre (00:44:24):
Okay. Did you ever witness him on the computer doing transactions or [inaudible 00:44:29]?

Paul Malagerio (00:44:30):
Doing banking?

Deidre (00:44:34):
I'm sorry.

Paul Malagerio (00:44:35):
I'm sorry. Doing what?

Deidre (00:44:36):
Oh, you know, talking about different accounts. Did you ever witness him do any business transactions
from accounts?

Paul Malagerio (00:44:45):
No.

Agent Matthew Bryant (00:44:48):
Do you know how he does his log books or how he stores stuff? Is it stored electronically, or hard copy,
or anything like that in his office?

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Paul Malagerio (00:44:58):
I was never privy to any log books. A lady showed up there with two bobcats one day. He gave her
$1,500 cash and I never saw the bobcats after that.

Agent Matthew Bryant (00:45:13):
What date was this?

Paul Malagerio (00:45:14):
That would be August of 2016. My assumption was he was prepping them for the show. So when a show
would start, baby animals would show up. So we'd have young handle-able, controllable babies that
were less to bite the public for 10 weeks.

Deidre (00:45:37):
So a lady dropped off bobcats and he paid her $1,500.

Paul Malagerio (00:45:40):
Yes.

Deidre (00:45:42):
Okay. You don't know anything about who the lady was or anything about the transaction?

Agent Matthew Bryant (00:45:47):
Nope. I was just standing there working and I saw that, and I mentioned to him, I said, "What are
bobcats worth? I love bobcats." He says, "Oh, I can get them for $800. I got these two for $1,500." So,
it's a big score, in his mind, if he saves a hundred bucks on two bobcats.

Deidre (00:46:02):
Okay. And then you saw the actual cash exchanged as opposed to a check or no other method?

Paul Malagerio (00:46:11):
No, I did not see cash exchanged that day. Oh, I did see a transaction when they sold a dog. They had a...
I don't know if that really matters or anything, but he had a little pug dog I got nice pictures of, and a
little cage in the front of the zoo there that no one else, other than me, would clean and feed water.
And two ladies pulled up in a Mercedes and they wanted... a couple thousand dollars for it or $1,500.
And his wife Melissa said, "Oh, they tried to give me a check." And she said, "What do they think I was
born yesterday?" So the lady went back and gave her a stack of hundreds. And when she counted it out,
there was a hundred bucks short. And I just thought this whole animal business is just so dirty.
Everybody is trying to rip everybody off, but that was for a dog.

Deidre (00:46:58):
Okay.

Agent Matthew Bryant (00:47:01):
And on the bobcats, he did tell you that he paid $1,500 for them.
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Paul Malagerio (00:47:10):
Yes. And it was a woman who was there with a couple of young kids with her. And one of the kids was
upset, because I guess they bonded one of the cats. He had to hand over to Tim.

Deidre (00:47:24):
Okay. So you actually saw the bobcats be handed over?

Paul Malagerio (00:47:32):
Yes.

Deidre (00:47:34):
Do you remember the vehicle she was driving?

Paul Malagerio (00:47:37):
No, I don't.

Deidre (00:47:38):
Okay.

Paul Malagerio (00:47:38):
You know, in all fairness, if I'd gone there with any intention to take notes, I would've had so much more
information for you, but I didn't. I was hoping I was going to go to a place and take care of animals the
right way.

Deidre (00:47:51):
Right. Okay. So when we were talking a little earlier about declawing, what specifically do you
remember about that? Or, you know, what have you heard? You said that, you know, you knew that one
time that they had been declawed, but anything that happened while you were there?

Paul Malagerio (00:48:16):
Just seeing the ligature marks on the liger variations. There were two out of seven cubs, and just seeing
where the fur wasn't growing back. And, I didn't even have to ask about it. I'm looking at that, and I've
got pictures of these cats and I'm always doing cat scans. I'm always looking at eyes and ear mites and
looking at teeth. And as I'm looking at this cat, Tim felt the need to explain about the ligature marks. I
guess he thought I was going to ask about it. And he's, you know, "Blah, blah, blah. I'm not going to use
that goddamned vet again. Look at what they did to the cat." And first thing I'm thinking is: why would
you take the back claws off a cat? There's no reason for that. That's how cats break their hips. They can't
scratch. They can't get traction in cold and wet and ice. It didn't make any sense to me. But he wanted
all four claws off, so when it ran up a visitor's face, they weren't going to get cut open and sue him.

Deidre (00:49:10):
You there, Matt?

Agent Matthew Bryant (00:49:32):

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Yeah. Yeah.

Deidre (00:49:32):
Oh, okay.

Agent Matthew Bryant (00:49:33):
Just seeing if you had anything else.

Deidre (00:49:36):
Yeah. On forms, did you ever see any form exchanged other than what we talked about earlier with the
green form, with the Meyer lady? Did you ever witness forms being filled out or were you present when
USDA did inspections?

Paul Malagerio (00:49:52):
There was no USDA inspections for the seven weeks I was there in the summer of 2016.

Deidre (00:49:57):
Okay.

Paul Malagerio (00:49:59):
He had meetings with his lawyer in his ATV with the air conditioning, where he has to come out and tell
me how he had to tell his lawyer how he's going to handle the USDA. And that he's going to personally
sue the inspectors, so they're too scared to come on his property. And his lawyer said, "Wow, Tim, I
didn't know you could do that. That's a really great idea." It's all bravado and ego in this whole industry.

Deidre (00:50:32):
Do you remember his attorney's name? I think he's had a couple.

Paul Malagerio (00:50:35):
No, I didn't. I never met the man. I just saw him in passing.

Deidre (00:50:38):
Okay. When you talked to him about Daniel Chambers, what did Stark tell you about that situation or
about Daniel? I know he didn't have good things to say, but can we maybe be more specific?

Paul Malagerio (00:50:56):
The cat I referred to earlier that was living in a swamp beautiful, beautiful tiger. A couple years old. And
it showed up there and it had a broken femur and Daniel said, "Oh, it's just got a sore leg." And Tim says,
"No, you're stupid, blah, blah, blah, blah, blah. Can't you see its leg is broken?" And then he told me that
Daniel actually went to his backyard and shot one of his caged bears, because he was worried about it
getting out.

Paul Malagerio (00:51:23):


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Every piece of work that Daniel did on there Tim had to show me. We rewired some of the electricity in
one of the new barns that short circuited the electric gate, because there was wire running outside and
under something, and it was all just bare exposed wires. So I said, "Well, Tim, should we go and shut the
breaker off?" And he says, "What? You fucking scared of a little bit of fucking electricity. What the fuck's
wrong with you, fucking wussy." It was like, every time he talked, it was just vulgarity. And I said, "Well,
I'm standing in an inch of water. I don't want to get shocked." So, you know, we put a board out to stand
on while playing with live wires.

Paul Malagerio (00:51:56):
He said that Daniel was pretty lazy. He hired him to do his video surveillance and ended up paying his
hotel room for over a week. And he only worked like two days and he just went on and on and on. And
when I was there, Daniel Chambers took Tim's idea about doing cub sessions in Colorado. So that's what
Daniel showed up to do. So Tim called him up when I was there and he said, "Hey, Daniel, how's the
mimic business going?" And there was, I think there was going to be... Oh, Tim said he was going to sue
Daniel Chambers for stealing idea. Yes. That's. That's where it went. It went actually went down to, Tim
was talking to his lawyer about suing him for doing the cub sessions that we were doing in Colorado.

Deidre (00:52:47):
Okay.

Paul Malagerio (00:52:50):
And then we got start. [crosstalk 00:52:54] Sorry, go ahead. Go ahead.

Deidre (00:52:54):
No, go ahead.

Paul Malagerio (00:52:55):
Well, it got into something I didn't learn about, which was what happened in Ohio, where people were
losing their animals. And Tim Stark explained something which kind of made sense to me. He said,
"USDA doesn't have specific criteria to build an enclosure." He says, "What Ohio did is they put exact
specifications on paper, and if you want to keep your existing animals, you just had to do this and do
that." And some of the old timers, like Kenny Hetrick or Daniel Chambers, assumed they were going to
be grandfathered into it. So didn't even bring it up to what Ohio asked them to do.

Paul Malagerio (00:53:31):
So it was a different take on the reality of, you know, you look on Facebook and people are getting their
animals seized. You think that's just horrible. But they were asked not to get rid of them just to take care
of them up to standards that they had on paper. Now, when he explained that to me, it was a sort of a
clear moment where it made sense that, yes, if you do want to have an animal, you do need to have a
species specific enclosure, not based on the feeling of, you know, this and that, but actual criteria
written down. So what's best for the animal. That did make sense. But he said Daniel was just too fat
and lazy to get off his ass and go fix his enclosures. And that's why Tim got his animals and they were
looking for, I think Daniel's tiger. And it was at Tim's place. And they never disclosed that to anybody.

Deidre (00:54:20):

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Did Tim tell you this directly?

Paul Malagerio (00:54:23):
Yes. Yep. We'd work an hour. He'd talk for two. And usually about, first of all, putting Daniel Chambers
down. He told me that, well, Daniel told me his side in Colorado, and then Tim told me his side of it. And
Daniel Chambers was at Tim Stark's location when he says the SWAT team went in with AR-15s and had
his wife, and kids at gunpoint, and took his animals, because they pinged his phone and knew he was
three hours away. And you know, you take it with a grain of salt. I mean, and I don't know what
happened. You kind of listen to that. I don't have a rebuttal to it other than like, oh, well, what are you
supposed to do? You know, start a gun battle with law enforcement? I don't think so. Of course Daniel
Chambers said if he was there, he would've had a big shootout because he had a thousand rounds of
ammunition, which I really doubt.

Deidre (00:55:20):
Okay. All right. We may have to detail this a little bit. So when Daniel was with you in Colorado, he told
you that when he was at Tim's place, that SWAT team members were in Ohio, at his property with his
wife and daughter?

Paul Malagerio (00:55:36):
Yes.

Deidre (00:55:38):
Okay. To seize his animals?

Paul Malagerio (00:55:40):
Yes.

Deidre (00:55:42):
Animals that he took with him to test. Did he say that? Or do we know that? Or just what Tim said?

Paul Malagerio (00:55:50):
The one tiger whose enclosure I got to fix with the broken leg, that was Daniel Chambers' tiger. There
was a bear. I think there was two bears. One Daniel shot. The other one, I'm pretty sure went to Tim's or
went to some place, Pat Craig in Colorado that I've heard about. I think his bear ended up there.

Deidre (00:56:16):
But we don't know exactly what ended up at Stark's other than, you know, that the tiger that had the
broken leg that you repaired the enclosure...

Paul Malagerio (00:56:22):
That one I know for sure, because Daniel never walked the cat, never spent time with it, never took care
of it. And it really was a good handle- able cat.

Deidre (00:56:30):

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Okay.

Paul Malagerio (00:56:39):
Yeah. The more we talk about this, the more I'm starting to recollect things. So we're going to have to
talk again. I'm probably going to wake up at 3:00 a.m. and start writing things thanks to you.

Deidre (00:56:49):
Well, that'd be great if you don't mind. Are there any other employees there?

Paul Malagerio (00:57:04):
Well, hold on. We're getting a call. You're so good at that. I can't do that.

Speaker 4 (00:57:10):
Yeah. He's seventh grade. He's seventh grade. Okay.

James Garretson (00:57:18):
You can you hear us now? Okay. Are you there?

Agent Matthew Bryant (00:57:28):
Did we lose you?

James Garretson (00:57:29):
Don't tell me we lost her.

James Garretson (00:57:35):
We lose her?

Agent Matthew Bryant (00:57:36):
Something happened. Can you get me back to the phone?

James Garretson (00:57:41):
Yeah. Here, yeah. Her name's Teresa?

Agent Matthew Bryant (00:57:46):
Deidre.

Paul Malagerio (00:57:47):
Oh, Deidre?

James Garretson (00:57:48):
Is she a fed with Fish and Wildlife?

Agent Matthew Bryant (00:57:50):
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She's a fed investigator with USDA.

James Garretson (00:57:52):
Oh.

Agent Matthew Bryant (00:57:53):
Chris Ogle the guy who hasn't said anything, he's my counterpart.

James Garretson (00:57:56):
What number do you want mean to call?

Agent Matthew Bryant (00:57:57):
Oh.

James Garretson (00:57:59):
Oh, that's your department, because I don't how to do all that.

James Garretson (00:58:07):
Sorry about that. Three people calling at the same time.

Agent Matthew Bryant (00:58:09):
Yeah.

Paul Malagerio (00:58:10):
Everyone wants to know where we are today, right?

James Garretson (00:58:12):
They're like stores calling and I'm just calling.

Agent Matthew Bryant (00:58:13):
You want to use my phone to call?

James Garretson (00:58:16):
No, they're okay. We'll survive without me.

Paul Malagerio (00:58:16):
It's a good thing you doing.

James Garretson (00:58:16):
Huh?

Paul Malagerio (00:58:16):
It's a good thing you're doing. That's good.
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James Garretson (00:58:16):
I wish they all.

Agent Matthew Bryant (00:58:16):
It's good.

James Garretson (00:58:16):
I want them to write him letters in prison.

Agent Matthew Bryant (00:58:38):
Yeah. All right brother, fix me.

James Garretson (00:59:02):
Okay.

Brittany Medina (00:59:02):
[inaudible 00:59:02].

James Garretson (00:59:02):
Well, the thing is I have that recording app on, so it makes it like three more steps. You got to do.
[crosstalk 00:59:12]

Agent Matthew Bryant (00:59:12):
Hey, we got you. Hey, you there? Deidre? Deidre?

Paul Malagerio (00:59:29):
Talking to you a couple times in Illinois. I pushed hold and I was still talking. I couldn't figure out, oh,
damn pushed hold.

James Garretson (00:59:38):
We'll have a couple apps that pop up our recording app. So it's small windows. So I might have just
closed that one, and I hit her's accidentally.

Agent Matthew Bryant (00:59:52):
Hit speaker, right?

James Garretson (00:59:54):
Yeah.

Agent Matthew Bryant (01:00:02):
Deidre, can you hear me now? Deidre, can you hear me? I don't know if something's on mute or what?
She just texted me. She says I can hear you, but now it's recording.


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James Garretson (01:00:22):
Okay. Let me turn that off. Hello, are you there? Is she the Columbus number? Two, one, six, one, four?

Brittany Medina (01:00:31):
Oh no (inaudible)

Agent Matthew Bryant (01:00:31):
Six, one, four, yeah.

James Garretson (01:00:33):
Okay. I'll call her.

Brittany Medina (01:00:48):
Oh, no. Here's little Dexter.

James Garretson (01:00:48):
Hello, Deidre. Hello? [crosstalk 01:01:01] That's weird. It's going through. Should I do it again?

Brittany Medina (01:01:04):
Shhhhh. (inaduible)

Agent Matthew Bryant (01:01:04):
Yeah. You don't have it on mute or anything?

James Garretson (01:01:20):
No.

Agent Matthew Bryant (01:01:20):
There we go.

James Garretson (01:01:32):
Deidre? Hello? Can you hear us? It has to be on her end, because...

Agent Matthew Bryant (01:01:45):
Just call.

James Garretson (01:01:46):
Britany, let me use your phone really quick.

Brittany Medina (01:01:48):
Go get mommy's phone.

Brittany Medina (01:01:48):
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Go get mommy's phone.

Brittany Medina (01:01:48):
Go get it.

Agent Matthew Bryant (01:01:57):
It works pretty good on the iPhone, but I just don't have enough signal.

Brittany Medina (01:01:59):
Cashy, come on with your little feet buddy.

Agent Matthew Bryant (01:02:11):
She's saying she can hear us.

James Garretson (01:02:14):
Okay.

Paul Malagerio (01:02:14):
That's kind of scary.

Agent Matthew Bryant (01:02:16):
When you were trying to talk and we were going, hello, hello?

James Garretson (01:02:20):
The number is (614)230-6211?

Deidre (01:02:32):
Hello?

James Garretson (01:02:34):
Hey, Deidre. Can you hear us now?

Deidre (01:02:35):
I can.

James Garretson (01:02:36):
Okay. We're going to play musical phones. Here we go.

Agent Matthew Bryant (01:02:38):
Yeah.

James Garretson (01:02:40):
Okay.
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Deidre (01:02:40):
Okay.

Agent Matthew Bryant (01:02:41):
Alrighty. Now I'm going to call Chris and get him back on.

Paul Malagerio (01:02:46):
I'm going to get my phone for that screenshot.

James Garretson (01:03:12):
Chris works in here, but he works with you, right? Chris?

Agent Matthew Bryant (01:03:14):
Yeah. Hey Chris. It's Matt. We had a little phone issue. I'm going to get y'all back to get, get y'all back on
the same line. Here we go. All righty. Deidre, Chris? Do I have you both?

Deidre (01:03:51):
Yes.

Chris (01:03:51):
Yep, I'm here.

Agent Matthew Bryant (01:03:52):
All righty. Trying it again.

Paul Malagerio (01:03:55):
Hey, dude.

Deidre (01:03:55):
All right.

Paul Malagerio (01:03:57):
It's Paul. Good to hear your voice again. I hope you lost you.

Deidre (01:04:00):
Oh, I know. I know. Yes. Thanks. I'm glad we were able to get a reconnection there. So before that
happened, I was asking you if you know of other employees at the facilities.

Paul Malagerio (01:04:19):
At Tim Stark's?

Deidre (01:04:20):


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Yes. Besides, I mean, we talked about, you said you were friends with Jamie Brown, Tim Clark, but I
don't think we've talked about anybody else. Can you think of anyone else?

Paul Malagerio (01:04:32):
I haven't spoken to Jamie, only through Tim Clark. I'm not speaking to her directly, because she has a
relationship, I believe, with Daniel Chambers and I'm keeping my location and relationship here with
James secret. I don't want to burn anybody. I don't want to have any issues with someone knowing
where I am.

Deidre (01:04:52):
Okay.

Paul Malagerio (01:04:53):
And, so, I'm being quiet about that. Paul Linney is a volunteer. Very nice man there. He's retired. We
spoke this weekend through texts and I asked him if he knew about the cubs, blah, blah, blah. And he
said that he had left there after working 50 hours a week and pretty well, Tim and his wife chew up their
volunteers and spit them out. They don't really give a crap about them. The nice old man was parking
cars for all the sessions. And didn't get to spend any time with some of the animals that he was
encouraged to bond with to, you know, give them some bonding time, so the animals were a bit more
flacid during play times.

Deidre (01:05:34):
Uh-huh (affirmative).

Paul Malagerio (01:05:37):
So he left on bad terms.

Deidre (01:05:38):
Okay. Would he be someone that we could talk to?

Paul Malagerio (01:05:44):
I would certainly suggest that.

Deidre (01:05:45):
Okay.

Agent Matthew Bryant (01:05:46):
Do we need an introduction by you before they would talk?

Paul Malagerio (01:05:52):
Okay. Two ways we could do it. His name is Paul P-A-U-L Linney, L-I-N-N-E-Y. He's an older gentleman.
That was an administrator for medical facilities throughout the states. With your direction, I could
contact him and ask him if he'd like to speak or you could contact him directly and ask him if he'd like to


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speak, whichever way is more convenient for you. But once again, I'm concerned about showing my
hand in this.

Deidre (01:06:24):
Correct. Okay. If we contacted him, would there be a way to contact him without bringing your name up
at all?

Paul Malagerio (01:06:33):
Yes. You could just send him a message on Facebook.

Deidre (01:06:40):
Would there be a way we could contact him through a phone number? We generally, I generally don't
contact through Facebook.

Paul Malagerio (01:06:46):
Oh, what I could do this next couple days: ask him for his number and call and talk to him for a few
minutes and then leave it a few days and then give you his number. Would that be appropriate?

Deidre (01:07:00):
Yeah. Yeah, that's right. We, you know, there's a lot of volunteers that come and go there, so we could
always just say, someone mentioned his name and we looked him up.

Paul Malagerio (01:07:06):
Yes. I'll do that.

Deidre (01:07:09):
Okay. And is there anyone else you can think of?

Paul Malagerio (01:07:15):
I've friended a lot of people that are there, and my cat and I are kind of a hit on Facebook and people
have seen me share animals. Most stuff I've done, it's not political. It's all fun, friendly stuff. So I've been
off since November, because I'm staying under the radar. So I'm not really out there talking to people,
but I could send some PMs and just do a bit of a probe. See how, how people are doing, go from there.

Deidre (01:07:43):
Okay. And I know Matt, you have Paul's number already. Paul, can I get your number real quick just to
jot it down?

Paul Malagerio (01:08:04):
Sure. It's (540)319-3969. If I don't recognize the number, I tend not to answer. So if you texted me a
time you're calling, I'll make sure I take the call.

Deidre (01:08:17):


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Okay. Sure. Okay. Okay. And then you had mentioned that you do have some documentation that you're
going to provide to Matt?

Paul Malagerio (01:08:41):
Yep. I'm looking up that right now. And here it is. What do you think of that, Matt?

Agent Matthew Bryant (01:08:48):
All right. Tim Stark, 8/2/16 donor, Tim Stark. And what is this for?

Paul Malagerio (01:08:56):
That's is the day that Tracy Perry, and that's August 2, 2016 when they picked up the four tigers. And
that's when he circled donor when I saw money change hands.

Agent Matthew Bryant (01:09:08):
Okay. Yeah. We got a transfer form with Tim Stark's name on it. Dated 8/2/16. Just the one, just the
photo only includes the donor's information, but it does say donor Tim Stark and has his USDA number
of 32-C-0204. But what we don't know based on this photo is who the animals were going to or what the
animals were on this transfer. But if we can go back and get transfer forms for 8/2/16, we can have this
same document.

Chris Ogle (01:09:56):
How did you get that copy, Paul?

Paul Malagerio (01:09:57):
I got this from Trish Meyer. I believe I asked her to see-

                                       PART 2 OF 5 ENDS [01:10:04]

Paul Malagerio (01:10:03):
Trish Meyer. I believe I asked her to see that when I saw her later and she showed this to me. I'm pretty
sure this is where I got it from. I know Tim wouldn't show it to me. Trish and I became good friends and
we both had the same take on the people in this industry that are just get rid of surplus animals. If she
hadn't taken them, Tim probably would've done the Doc Antle thing, which was his hero for years and
they would've been just euthanized and buried.

Diedra (01:10:50):
Paul, what name... You were just talking about, Doc. What's his last name again?

Paul Malagerio (01:10:54):
Oh, Kevin Antle.

Diedra (01:10:58):
Antle. How do you spell that last name?


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Paul Malagerio (01:11:00):
A-N-T-L-E.

Agent Matthew Bryant (01:11:02):
I've heard about him... I've heard about him for a long time, Chris and Deidra. He's a known cat killer,
got an incinerator on his place. He gets cubs uses them while he can, doesn't want to have the cost of
feeding cats or keeping cats. And so he kills them, probably... [crosstalk 01:11:23]

James Garretson (01:11:22):
Has incinerator on the grounds.

Agent Matthew Bryant (01:11:25):
Probably creates some false death certificate with some vet in his pocket. And then they're put in an
incinerator.

Paul Malagerio (01:11:31):
It's actually a sharper plan than that. By history of Doc Antle, when I was at Natural Bridge Zoo, Carl
[inaudible 01:11:39] sold Doc Antle his first tiger in the eighties. And he walked up the driveway and
said, I want to buy a tiger.

Paul Malagerio (01:11:45):
I don't care how much it costs. Well, he got a million dollars from his parents as a teenager because
they're a large... She boxes at markets and says something in Antle produce. They're big in the produce
industry. I met his mom, his family, lived at his property for eight months. He started out in the industry
with the first tiger from Carl [inaudible 01:12:07]. And I ended up marrying Carl [inaudible 01:12:09]
daughter. What Doc Antle does... The two breeder cats at Natural Bridge Zoo and the wife and I did
photo sessions with them. And at the end of eight months, I said, okay, are we going to build a cage for
him? She says, no, my dad doesn't want any more cats. They go down to Doc Antle. I didn't know, Doc
Antle from whatever. They dropped him off in South Carolina. One beautiful white tiger was named
Duke.

Paul Malagerio (01:12:31):
When we got down to Florida, I said to one of the girls, Hey, how is Duke doing? The one girl goes, oh,
that's the one that hurt his leg. Yeah, Doc had to put him down and the girl bumps her elbow and shakes
her head like, don't say that. And the girl says, oh, it might not been him. What he has been doing up
until, I believe, through Morgan Simpson, a friend of mine last year, he finally got called to task.

Paul Malagerio (01:12:53):
He would have 45 to 55 cats and he would recycle the sanscript names for them like names that were
not normal names. And when one cat died, he would just say, oh, that's the cat over there? Oh no, that's
the cat over there. While at Joe Exotic, September 15, Scott, the baldhead a guy that worked for Doc
and now works for William Meadows at Tunnel... This is all coming out now. Thank you... delivered two
tigers and said, Hey, Paul, it's good to see you because I met him in Florida. Here's two cats basically Doc
didn't want anymore so he fluffed two off on Joe. That was that day. Doc would put them down
however he wanted. He said he preferred to use a 44 Magnum because tiger skulls are pretty hard and
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they go in the incinerator. Nothing goes on a log book because the name just goes back to one of the
adult names.

Paul Malagerio (01:13:55):
I need two hours to talk about that one.

Diedra (01:13:59):
Yeah, I bet.

Paul Malagerio (01:13:59):
Yeah.

Diedra (01:14:00):
And at some point, we may need a lot of that information from you on that guy.

Paul Malagerio (01:14:05):
Well, from what I've heard from the gossip in the industry, it's he was dealt with last year where finally
they took pictures. To identify a tiger, there's two things you do. You take pictures of its head and
pictures of its tail. The first foot of a tiger's tail is an ID. That's only that cat has. No other cat has the
same markings so you go back the next year and say, where's this cat? He can't say, oh, it's sitting over
there because the photos don't match up. Where is that cat? And this is what he's gotten away with all
of his career. And hopefully that's ended.

Diedra (01:14:39):
Yeah. I'll have to do some checking on that one.

Paul Malagerio (01:14:41):
Yep.

Diedra (01:14:44):
Okay. Let's see here. Right. We've covered the day, but do you think of anybody else that we can talk
that was maybe there when you were there? Even if they're not there or any longer or you may not
even keep up with them, but we might be able to track them down through Facebook or something.

Paul Malagerio (01:15:03):
Who is that you're referring to?

Diedra (01:15:05):
Oh, just anyone that may have information that you're not keeping up with, that you remember that
worked there.

Paul Malagerio (01:15:12):
And this is about Tim Stark?

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Diedra (01:15:14):
Yes. Yeah.

Paul Malagerio (01:15:16):
Yeah. I'll make discreet inquiries and have someone else ask the question so it doesn't come back. I'll ask
some questions.

Diedra (01:15:24):
Yeah. Just be careful, whatever you're comfortable with. If you're not comfortable...

Paul Malagerio (01:15:28):
Yeah.

Diedra (01:15:28):
Don't feel like you have to. We'll find another way.

Paul Malagerio (01:15:33):
Right.

Diedra (01:15:33):
But if it's something that is not out of routine or something for you to do, then that's fine.

Paul Malagerio (01:15:38):
Yep. Okay.

Diedra (01:15:44):
Chris, did you have more questions?

James Garretson (01:15:45):
Do they know about the hater page [inaudible 01:15:49]?

Chris (01:15:49):
This is Chris. I'll give a real quick synopsis of my time with Tim Stark. I'm the agent here in Indiana. I
investigated the death of a leopard in the summer of 2014 that was killed on some ladies front porch.
And of course it was [inaudible 00:06:08] from Tim Stark's place and he denied our [inaudible 01:16:15]
and of course he said he had two leopards that would've been at exactly the same age at the same time
that one had died on it's own, the other one he killed with a ball bat.

Paul Malagerio (01:16:26):
Yeah. He told me about that.

Chris (01:16:27):


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Yeah. I wanted to bring that up just in case there was ever any conversation or any... because he denied
ownership of the leopards but...

Paul Malagerio (01:16:35):
Yeah.

Chris (01:16:37):
Through my work, it was certainly related to the ones that he got from the facility in Pennsylvania. But
not having the body of any of the other ones was hard to prove the case.

Paul Malagerio (01:16:51):
Well, I guess any comments I make about that is just hearsay about what he brags about, what he tells
me, but he made a comment about some wild leopard out there they're trying to blame on him and he
smirks and says, yeah, sure. Try and prove it was my leopard. And then he talked at length about the
one he beat with the baseball bat saying that it was his right to do that.

Chris (01:17:17):
Yeah. That's real proper euthanasia.

Paul Malagerio (01:17:20):
Yeah.

Chris (01:17:23):
Especially with his lack of a medical degree yet he always claims he knows exactly what disease they die
from. And then the other stuff that I've looked into and asked is very similar to what you talked about. I
know that he's transferred tigers to other facilities for money and those facilities were not set up to
handle or have the experience to care for a tiger.

Paul Malagerio (01:17:50):
Right.

Chris (01:17:51):
Which you've heard that by saying that once the tiger's playtime is done, he really doesn't care where
they go as long as it's gone.

Paul Malagerio (01:17:59):
Right.

Chris (01:18:01):
But of course he still will sell one if somebody's offering money, he'll take it.

Paul Malagerio (01:18:07):
Yep.

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Chris (01:18:09):
I think that there'll be a lot more conversations moving forward based on what you're... You only spent
seven weeks there, right?

Paul Malagerio (01:18:15):
Yes.

Chris (01:18:17):
You learned a lot in seven weeks.

Paul Malagerio (01:18:20):
Well, it's just like I say, I work every day. I don't do anything other than take care of animals and I was
hoping to find some place that actually has that mentality rather than getting yelled at, because I want
to feed cats that haven't eaten for five days. What the hell kind of crap is that?

Chris (01:18:39):
Yeah. Well thank you so much for your time. I'm sure we'll have follow-up questions about obviously
that one time, [inaudible 01:18:48]. I know that you and Matt have a lot to talk about as well.

Paul Malagerio (01:18:50):
Okay. My pleasure. Any more questions just please get them to me, okay?

Diedra (01:18:57):
Will do. Yeah. Matt, is there anything else you need us for?

Agent Matthew Bryant (01:18:59):
No, I'm going to kick around Greg Woody. Y'all got anything on Greg Woody?

Paul Malagerio (01:19:05):
No.

Agent Matthew Bryant (01:19:05):
Do you know Greg Woody? [crosstalk 01:19:08]

Paul Malagerio (01:19:08):
He contacted me.

Diedra (01:19:10):
[inaudible 01:19:10] conversation.

Paul Malagerio (01:19:11):
He contacted me two years ago on Facebook, said, Hey, do you have any lions I could use for a show or
something? And I didn't know who he was. I said, no, sir, I don't have any lions. And he said, okay.

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Agent Matthew Bryant (01:19:23):
Well, is Tim Stark and Greg Woody, did they have business arrangements that you knew of?

Paul Malagerio (01:19:28):
Never met him.

Agent Matthew Bryant (01:19:29):
Joe, you ever heard of him talking about Woody?

Paul Malagerio (01:19:33):
Hearsay about where bears are born.

Agent Matthew Bryant (01:19:35):
Okay. Woody is our big connection on the bears. He's a big bear guy out of Southern Illinois. Just
another angle on that. It's a native species issue for Oklahoma. It's easy to kick off a Lacey Act deal with
some possible [inaudible 01:19:55] failure to obtain Department of Wildlife permits. It's just another
angle that I'm looking at on Joe Exotic because he deals with a lot of bears.

Chris (01:20:04):
Let me throw something else out there just for our own theories. Obviously, we talked about a lot of
tigers being moved around the country and some of them being killed just because they don't want to
feed them. If there's anyone that, especially in regards to Woody's, being a possible link to them actually
selling tiger for parts. I don't know if that's ever come up or something you've ever seen in the trade, but
that's something that interests to us as well.

James Garretson (01:20:39):
That's all Woody handles.

Agent Matthew Bryant (01:20:40):
Yeah. And I'll add another question to that. Do you ever have any knowledge of Tim Stark when a tiger is
killed or a leopard is killed there, if he retains the hide, retains any parts or cells, any parts of these
animals?

Paul Malagerio (01:20:56):
Okay. August 2016... I was telling James the story today. I believe the white tiger named Ellie Mae, year
and a half old. Jamie Brown said, Paul, Paul, something's wrong with the cat. There was five tigers in an
enclosure and it was having convulsions. I called Tim. He comes down, we open the door, we take four
of the cats out and put them into transfer cages. We take the body of this cat out. We put it into a
transfer cage. And I said, Tim, it's convulsing. Tim was walking about two miles an hour. He's looking at
me like I was annoying him.

Paul Malagerio (01:21:39):
He drove up to the house, came back. He gave it a shot. He drove away and the cat started having
seizures and then Melissa was there. She says, Paul it's not breathing. I stepped into the enclosure and

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started doing chest palpitations on it. And I said, just watch the eyes, watch the mouth. Tim pulled up
and he says, what the fuck are you doing? Get the fuck out of there. Blah, blah, blah, blah, blah. The cat
ended up dying. He came back with a tarp with handles on it. We put the cat in it. He put it in the back
of his black Colorado pickup. And I said, are we going to bury it? He goes, no, I got a place for it and he
drove off the property with it. And he came back a couple hours later with the tarp. Didn't say where he
took it. Wouldn't talk about it. And that was the end of it. That was a white tiger and that was August of
2016. Those are my observations.

Agent Matthew Bryant (01:22:37):
Any animals that were put down there, do you know... Let me rephrase this question. It's my
understanding that medications are supposed to be given by a veterinarian and euthanasias are
supposed to be conducted by a veterinarian. Any euthanasias or medications other than the time that
you just mentioned that it was where there was not a veterinarian on site?

Paul Malagerio (01:23:06):
I never saw a veterinarian on site. I hate to skip, but I did see Joe give a mountain lion a shot and it
passed. And he went back to his office because it was down. That's Joe Exotic, different thing. As far as
Tim Stark, I never saw a vet there. He gave the tiger an injection that day because he said the vet told
me to give it this and the cat didn't survive. I don't know what the shot was. I don't know what was in it.
It was probably an 18 gauge, three CCs of a brownish liquid.

Agent Matthew Bryant (01:23:42):
For all we know he could have been putting the cat down.

Paul Malagerio (01:23:45):
Yes.

Speaker 7 (01:23:47):
[inaudible 01:23:47]?

Paul Malagerio (01:23:47):
Intermuscular, in the limb.

Agent Matthew Bryant (01:23:50):
And just in the muscle mass in the limb?

Paul Malagerio (01:23:52):
Yep. And the cat died within 20 minutes of that. Maybe 10.

Agent Matthew Bryant (01:23:59):
Did you hear that Chris?

Chris (01:24:03):
Yeah, I did. Cat died 20 minutes after the injection.

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Paul Malagerio (01:24:07):
Less than 20 minutes.

Diedra (01:24:11):
[inaudible 01:24:11] 20 minutes.

Paul Malagerio (01:24:13):
Less than 20 minutes. Yeah.

Agent Matthew Bryant (01:24:13):
You ever seen him do that to tigers or any other endangered species?

Paul Malagerio (01:24:17):
Just that tiger.

Agent Matthew Bryant (01:24:18):
I thought you said that was a mountain lion.

Paul Malagerio (01:24:20):
No, that was GW.

Agent Matthew Bryant (01:24:21):
Oh, GW did the mountain lion.

Paul Malagerio (01:24:23):
Yeah. Tim Stark gave the injection to the tiger that was having convulsions.

Agent Matthew Bryant (01:24:25):
That was the Ella Mae tiger.

Paul Malagerio (01:24:27):
Yes. But he wasn't rushing to take care of it. When the cat's down, I rush to do whatever we got to do
because the temperature drops too quick and you can't bring it back and he just walked like nothing was
wrong.

Agent Matthew Bryant (01:24:43):
Gotcha. Well, I'm sure thinking about this and talking about this Deidra and Chris will prompt more
questions and we can probably have a lot more follow ups. But just this initial conversations, I think it's
shedding a little bit of light.

Diedra (01:25:08):
Yeah.


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Agent Matthew Bryant (01:25:22):
Y'all got any other questions on Stark or anything. I'm going to switch and get into GW.

Diedra (01:25:29):
I think we're we're good for now. Chris?

Chris (01:25:31):
Yeah, I'm good.

Diedra (01:25:33):
Okay. Yeah. Paul, we'll be in touch. Thank you so much for your time today and cooperation.

Paul Malagerio (01:25:42):
You're welcome.

Diedra (01:25:42):
And then the things we talked about, if you could check into those, reaching out to people that might be
cooperative, especially the retired older gentleman you spoke of.

Paul Malagerio (01:25:51):
Yep. Okay.

Diedra (01:25:52):
And then, yes. And we'll be in touch and again, Matt, can you give Paul or Paul, if you have something to
write on, I'm more than happy to give you my phone number and Chris can give you his number as well.

Agent Matthew Bryant (01:26:03):
I can give them to him. I can have him just put them on the phone.

Diedra (01:26:06):
Okay. That sounds great. If you have something that comes up and you want to call and talk about it,
just please give us a call.

Paul Malagerio (01:26:12):
Okay. I will.

Diedra (01:26:14):
All right, great. Okay.

Agent Matthew Bryant (01:26:17):
All right guys. I'll holler at y'all later.

Diedra (01:26:20):

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All right. Sounds good. Thank you everyone.

Agent Matthew Bryant (01:26:22):
Bye.

Diedra (01:26:22):
Bye.

Paul Malagerio (01:26:22):
You want to go walk a tiger now?

Agent Matthew Bryant (01:26:31):
Geez.

James Garretson (01:26:31):
The baseball bat? Really?

Paul Malagerio (01:26:34):
Yeah.

Agent Matthew Bryant (01:26:36):
All right. Let's talk just you can [inaudible 01:26:41] here. Tell me about when you got to GW and what
you did at GW and what you know there.

Paul Malagerio (01:26:48):
That's August 23rd or 29th of 2015. John Finley drove down to Kendall, the states, Miami, Kendall
suburb, which was Doc Antle's property. And we loaded up our tiger, two mountain lions and our
Geoffroy's cat went in the back of my pickup. The wife had her stuff loaded. She had our two Siberian
lynx in her car and my two house cats. And also we rescued a cat and a litter of kittens there. Cody Antle
was shooting cats on the property when we got there and I took the rifle off him.

Paul Malagerio (01:27:32):
It was a chrome plated tubular magazine Ruger 22. And he's using long rifle shells with coral rock in his
suburb of Miami and I took it. I said, that's probably not a good idea. Cleared it and gave it to his dad.
They didn't like that because their theory is they shoot all the stray cats. We would trap them and
rescue them. John shows up, we loaded the cats and we drove. It took almost 20 something hours to get
up to Oklahoma. Got there 8:30 on a Friday night. And we thought the staff was all waiting to welcome
us because they were just really nice people. But apparently I found out no one was allowed to start
work or leave work until Joe dismisses you.

Paul Malagerio (01:28:17):
We shifted the cats, got a room, got some sleep, next day started to work. And where do I go from
there? The myth of a great animal care person every day dwindled to nothing.


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Agent Matthew Bryant (01:28:33):
You go to work for them. He assigns you to feeding cats or doing something like that. And your wife's
working there also?

Paul Malagerio (01:28:39):
Yes, she was running the small animal... No, she started a month later. She was in Virginia staging our
house for sale.

Agent Matthew Bryant (01:28:45):
Okay.

Paul Malagerio (01:28:45):
She showed up a month later. Now she is a professional zookeeper at 32 years of age. She'd worked in
the zoo for 30 years because she was born and raised in one. They were absolutely in awe of the
knowledge that she had of everything from [inaudible 01:29:01], reptiles, [inaudible 01:29:02], cats. She
lives this stuff.

Agent Matthew Bryant (01:29:06):
What is your wife's name?

Paul Malagerio (01:29:08):
Her name of the time was Gretchen [inaudible 01:29:10].

Agent Matthew Bryant (01:29:10):
Okay. Tell me, I'm interested in, one, animal deaths, Joe's involvement, movement of wildlife,
movement of animals coming in, going out, commercial transactions, what you may have heard from
Finley, any other knowledge of any staff member.

Paul Malagerio (01:29:39):
After being there a few months, I started to see what it really is. Her and I are trying to find a place to
go. She had applied for USDA permit so we could do our own thing. To be on our own because basically
you're held hostage, keep your mouth shut when your animals are on someone's property. You can't
talk. You can't say anything. And it was pretty bad there. It was Saturday, October 21st where Joe comes
in the gift shop and says everybody's pay is cut in half because he can't afford to pay anyone, but he'll
make it up on the March break. We'll all get back paid.

Agent Matthew Bryant (01:30:11):
October 21st of 16.

Paul Malagerio (01:30:15):
Yes. And that was Saturday. On Monday, Eric and I are cleaning down the back area and Joe comes up
and I look over at his face and his eyes are black and blue. And I'm thinking, I said, Hey, did you get in a
car accident? And he pulls his hair back. He said, no, I had cosmetic surgery for my presidential
campaign photos. And the wife Googles it and it's like six, 8,000... He's got staples across here. His eyes

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are all black and because he wanted to look really pretty for the photos because he's going to run for
president. And I'm going like, but now our pay is down to 150 bucks a week each and we're renting an
apartment in town. I'm going okay. If it smells like a... Whatever. And then the limousine shows up, but
we had no money for food for the cats.

Paul Malagerio (01:30:58):
The big deal was Mark had to drive... [crosstalk 01:31:03]

Agent Matthew Bryant (01:31:02):
Who was mark?

Paul Malagerio (01:31:04):
Mark Thompson, we called him the want-to-be cop because he wore the tactical lefthanded Baretta leg
holster.

Agent Matthew Bryant (01:31:12):
And do you know if he was affiliated with the police department?

Paul Malagerio (01:31:15):
Not at that time, but he kept saying, he's got an application in for... He said, I'll probably never get hired
by Garvin County because I work with Joe because the consensus was when you talk to a Garvin County
to cop, they knew what Joe was. They used to play his videos and laugh at them. He goes, so I'm putting
applications in other places. Then I found out he did end up getting hired by, I think it's Elmore City
Police.

Agent Matthew Bryant (01:31:40):
Was he acting as Joe's bodyguard?

Paul Malagerio (01:31:42):
Well, here's the funny part, he was getting 600 bucks a week because he had a CDL and he would drive
the meat truck to go and do the Walmart pickups for the [inaudible 01:31:53] program. And his wife,
[inaudible 01:31:56], she was in the office and she was a notary so she was getting 400 bucks a week,
but they always got paid. I'm going like, that's a pretty good score for a couple thousand bucks a week
when they got subsidized housing in [inaudible 01:32:06] Valley.

Paul Malagerio (01:32:07):
Mark has also had some medical training, but apparently a medic or EMT so he became Joe's personal
care physician. And I shared some stories about where I drove Joe to the hospital in Sunday, September
2015. And I was his driver. And I would look up...

Agent Matthew Bryant (01:32:31):
But you weren't there in 2015.

Paul Malagerio (01:32:33):

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Sorry, 2016.

Agent Matthew Bryant (01:32:33):
Okay.

Paul Malagerio (01:32:34):
Sorry. Wrong [inaudible 01:32:35]. I'm sorry. Thanks for correcting me on that. And when we checked
him into the hospital, the girl is typing it up and she says, how have you been feeling, blah, blah, blah.
And I stood towards the desk and I looked over at what he had.

Paul Malagerio (01:32:48):
And there was no mention of AIDS. There was no mention of colon cancer. There was no mention of a
brain tumor. All he had was a four letter immune deficiency at that time, that was something that a lot
of people can live with. I know people that have it. I don't remember the four letter acronym, but it was
a functional thing. And I started going like, yeah, but he goes on Facebook and it's pictures of him laying
in a hospital bed, which when I went to his home to help him move furniture out, all that equipment
was actually there. And I was told by Nick Stacy, a friend of ours who visited us in Virginia, who had
worked for him, that Joe had all this stuff in his house. And after the cosmetic surgery, he told people he
was in an accident and he put the picture of his blackened eyes and the tube in his nose to solicit funds
from people which he did last month also saying he was in a big car wreck with a broken neck and a
broken femur.

Paul Malagerio (01:33:43):
And he's still running around playing with a cat. You start to smell like this guy's just off, but let's go take
care of animals. Let's do our work. Let's hope, whatever. There was a cat, beautiful tabby cat in cage
number 73.

Agent Matthew Bryant (01:33:58):
When you say cat, what [inaudible 01:33:59]?

Paul Malagerio (01:33:59):
Tiger.

Agent Matthew Bryant (01:33:59):
Tiger.

Paul Malagerio (01:34:00):
Bengal tiger as the back L and I said, Eric, this cat's not looking good. He goes, yeah, I know. I told him. I
said, well, we got to make a notation. It was in with a white tiger and it was in the corner. We would
dump the food down two shoots and the male would bully the cat so she wasn't eating and day by day is
going by. And I said, Eric, we got to shift them out. We got to feed them separate. We don't have time.
They don't want us to, we just got to do this. This went on the point where I said, I can see the cat's ribs.

Paul Malagerio (01:34:28):

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We got to do something about that. I would have Wednesday afternoon off. I came back Wednesday
afternoon to feed my cat. And John [inaudible 01:34:37] is sitting at the bottom of the hill and, I know
the exact spot between three trees, digging a hole. And Jeff Lowe is standing there with a shovel and
they're burying cat number 73. And my mountain lion was down the bottom of that hill so I didn't go
looking for them. I was going down to see my cat to feed it. And I see them with the backhoe and Eric
told me, yeah, they were burying that beautiful cat. I said, they didn't try to do this? Nope. They didn't
care. They just buried it. And I didn't know... [crosstalk 01:35:05].

Agent Matthew Bryant (01:35:05):
Was it there [inaudible 01:35:07] very sick?

Paul Malagerio (01:35:08):
I don't know. I can know where it is to dig it up. The spot's pretty clear for whatever that's worth.

Paul Malagerio (01:35:14):
There's a lot of cats buried on the property. That one I knew specifically, it stood out. Another
Wednesday, I showed up and there was a beautiful orange tiger in the back of a pickup truck, going to
some museum or some [inaudible 01:35:28] in Oklahoma City and it registered on their eyes. When I
walked by to throw something in the garbage, I look in the truck and I see this cat and I look over at
them and they look at me and look away, because they're doing this on my day off because they know I
would ask questions. And that time they [inaudible 01:35:44]. I couldn't overtly ask them what
happened to the cat. I just I didn't want to see this stuff.

Agent Matthew Bryant (01:35:49):
It was a dead cat?

Paul Malagerio (01:35:50):
It was dead. A dead tiger.

Agent Matthew Bryant (01:35:51):
Yeah.

Paul Malagerio (01:35:52):
Full grown, nothing wrong with it. Big healthy cat. Why?

Agent Matthew Bryant (01:35:56):
And it was going to somewhere in Oklahoma city?

Paul Malagerio (01:35:58):
Yep. They said a bone museum or a taxidermist.

Agent Matthew Bryant (01:36:04):
[inaudible 01:36:04] Unlimited ring bell?


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Paul Malagerio (01:36:05):
I've heard of that place. Yeah.

Agent Matthew Bryant (01:36:06):
You ever know of any other animals that are going there?

Paul Malagerio (01:36:10):
Not offhand.

Agent Matthew Bryant (01:36:12):
You ever heard of Terry's Taxidermy?

Paul Malagerio (01:36:13):
Yes.

Agent Matthew Bryant (01:36:13):
Do you know of animals that have gone to Terry's Taxidermy?

Paul Malagerio (01:36:17):
Apparently, through other people, I found out that Joe put 12 cats down and delivered the pelts there.

Agent Matthew Bryant (01:36:26):
When?

Paul Malagerio (01:36:28):
The past couple of months. Past few months. It's just hearsay. I don't know for sure. My friend, Eric, that
works there... A guy named Jeff Johnson, we've heard about personal messaging and I'm cautious about
what I say to him. Okay. I don't tell him whatever. And he said to me that Eric is pretty close to turning
them all in. And I said basically in a text, I said, you tell him to be careful because they'll kill him
because...

Agent Matthew Bryant (01:36:59):
Is Eric a good friend of yours?

Paul Malagerio (01:37:01):
I consider him close. Yeah.

Agent Matthew Bryant (01:37:02):
Okay. One, I know who Jeff Johnson is.

Paul Malagerio (01:37:06):
Okay.


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Agent Matthew Bryant (01:37:07):
I've talked to Jeff Johnson and Jeff Johnson's digging and wanting Joe for his own personal reasons.

Paul Malagerio (01:37:12):
Right.

Agent Matthew Bryant (01:37:15):
My opinion is timing and doing all of this is wrong based on what we have going in.

Paul Malagerio (01:37:20):
Right.

Agent Matthew Bryant (01:37:20):
And could be jeopardizing some of the movement in our case so Jeff has told me that he is going to lay
low for a while.

Paul Malagerio (01:37:28):
That's best.

Agent Matthew Bryant (01:37:29):
If you hear otherwise, I'm going to ask you to let me know so I can have a face-to-face meeting with Jeff.

Paul Malagerio (01:37:35):
Okay, because he has GW watchdogs.

Agent Matthew Bryant (01:37:37):
Oh.

Paul Malagerio (01:37:38):
Yeah.

Agent Matthew Bryant (01:37:39):
Eric. I would like for Eric to come over [inaudible 01:37:45].

Paul Malagerio (01:37:45):
Okay. Personally with Eric, October 2016, Joe said everybody has to come in Wednesday morning to
unload eight skids of drumsticks. We all show up, we've got an assembly line. And Eric comes walking
down, his hairs wet. He looks around, he sees a dozen of us. We didn't need him. It's his power thing to
get him out there. It's his day off. He went back home. Joe fires him. And I went over to see Eric and he's
sitting like this and he goes, I can't lose my job. That's it. He goes, I'm going to jump over the I-35 in front
of a transport truck. And I sat and talked with him. I said, no, you're not. We're going to get your job
back. I'm going to talk to Joe and do this. And Joe come up on his ATV on cleaning. I said, Hey man, this


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is all he's got, to give the guy his job back. I said, like that. He says, well, you tell him if he goes to rehab
for a month, I'll give him his job back.

Agent Matthew Bryant (01:38:45):
Rehab for what?

Paul Malagerio (01:38:47):
For alcohol because Eric would drink.

Agent Matthew Bryant (01:38:49):
Not drugs, would drink.

Paul Malagerio (01:38:52):
Yes. Now maybe he smoked pot. Never when I worked with him, did I ever smell alcohol on his breath or
pot because that to me is a big no no when you've got keys. I won't be around that. There might been
one morning he was probably hung over. But he told me, we talked a lot, his history was he was an
alcoholic. He was a chef. He did really good, lost his job because of booze. And this is all he's got. Okay. I
went and I said, okay, let's call Mercy. We're going to get you checked in. And I took him to the hospital
in Paul's Valley and sat there with him at nine o'clock at night. He was talking about some guy talking on
some news show. It was really good. And they said, we can't get him until three in the morning.

Paul Malagerio (01:39:32):
I stayed with him. Three in the morning we drove down to Mercy, went up to a security guard. I says,
Hey, I got a guy here that needs to be checked in. He jumped up. He goes, follow me around here, all
around to the parking lot. We took him to a one level building and they said, oh good. You brought him
and checked him into there. He was in there for a week. He called me. I went and I said, Joe, I got a call.
They are releasing Eric. Can I take the truck, go pick him up. He goes, yeah, we might as well get produce
while you're down there [inaudible 01:39:59] that fucking asshole. Everything's like... You hear the voice,
right? I pick Eric up and I got him a cooked chicken. I bought him a carton of cigarettes. Occasionally,
we'd get him work boots.

Paul Malagerio (01:40:10):
He had freaking nothing. The guy had nothing. And we bonded because of that because I looked out for
him. I didn't have to, but I liked the guy. And when I started getting burned there, he didn't like what
they were doing behind my back. But I realized all he's got, it's not looking out for me or protecting me
or doing whatever, those cats. Those cats are everything to him.

Agent Matthew Bryant (01:40:34):
He's in it for the animals?

Paul Malagerio (01:40:35):
Yes.

Agent Matthew Bryant (01:40:35):

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Like you?

Paul Malagerio (01:40:37):
Yeah. Yeah, money is important but I'm owed more than I've ever earned in this industry. I've gone
broke doing it. I told James or Britney the last place I was living in a trailer with no water or septic for six
months just to be with animals, hoping the dream would come true. And it just takes a toll. It's cost me a
relationship, but I still got my cats and that's what I'll do till I die. I don't want Eric speaking because Joe
will go down to say help shift these cats and he'll lock him in. He'll have him killed and he'll watch him
get mauled. He'll kill the guy.

Agent Matthew Bryant (01:41:12):
You think Joe's got the balls to do that?

Paul Malagerio (01:41:15):
Joe's an asshole. Joe's about Joe. If that's good for Joe and then he'll just leave and let somebody else
find the body. I would not put it past him. And that's what he'd do for a guy that's been carrying his flag
for how long, that he pays a hundred bucks a week for.

Agent Matthew Bryant (01:41:33):
Eric won't come talk to us to help get Joe shut down.

Paul Malagerio (01:41:39):
If there's some way I could go talk to Eric, I wouldn't even ask him to do this. I'd just say, Hey, how's it
going? What's going on? Are you okay? I've tried to get him a job with Leah [inaudible 01:41:49] in Tiger
World.

Paul Malagerio (01:41:49):
And before we left there, I said, Hey, can you get this guy a job? She says, have him send me a resume.
Well, he's got no phone. He's got no fax. I've sent him a couple of letters or cards. No doubt, he never
got them because he'd opened him up and throw them in the garbage. He doesn't get mail. And I got to
be careful because if he's communicating with me, he's going to be on the shit list. How do I go and
approach the guy? If I drive up on the property, Joe will have his whoever's body guarding him now will
go over with a camera and a gun and start an issue. And how do I approach him without causing him
grief?

Agent Matthew Bryant (01:42:21):
Yeah.

Paul Malagerio (01:42:23):
I wanted to mail him a phone. Would he get it?

Agent Matthew Bryant (01:42:26):
No.


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James Garretson (01:42:28):
He never leaves the property, does he?

Paul Malagerio (01:42:28):
He's got no car. He's at mercy of a ride. They take their paychecks up to the East Indian gas station and
they cash them. And if you can get a ride to Walmart, I'd take him to Walmart and what do you do with
a hundred bucks at Walmart when you want to eat for a week? He's eating off the freaking produce
truck.

Agent Matthew Bryant (01:42:47):
You ever heard Joe make any threat towards anybody?

Paul Malagerio (01:42:51):
All the time.

Agent Matthew Bryant (01:42:52):
Give me some examples.

Paul Malagerio (01:42:54):
Well, driving a truck with him and it's Carol Baskin, Carol Baskin, Carol Baskin. I said, Joe, how long were
you dating that woman in Florida for her to be so pissed off at you? Holy fuck, he went into a tirade.
[inaudible 01:43:09] had to do that. Right? And he says something about want to get her killed, should
get her killed. He didn't directly say, would you go kill her for me? But he was trying to feel me out to
see if I was useful to him. He says, well, you got a gun, Paul. He says, you could make a lot of money if
you go and do me this big favor and blah, blah, blah. And then I don't want to freaking hear this shit. I'm
not even adding to that.

Paul Malagerio (01:43:33):
I'm not talking [inaudible 01:43:33]. You just went on the freaking bigger asshole meter than you are.
Anything I say after that, I'm now a part of this. Do I talk about it? Do I say nothing? I don't repeat that to
anybody. I'm saying it now today, but why would you even say something like that? You don't even
freaking know me. Are you stupid? That's the arrogance of this man who's such a legend in his own
mind, he can't do anything wrong. And the big question was with all the staff, Eric, William Talley,
Brandon Phillips, my wife, Jamie and her son, Tori, how has he gotten away with this for so long?
William Talley said, he's got a friend in the FBI. Well, who's going to give up their pension to protect
him?

Agent Matthew Bryant (01:44:13):
Right.

Paul Malagerio (01:44:13):
How far can this go? You're going to jeopardize your family's welfare in 20 years because you want to
protect that.


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Agent Matthew Bryant (01:44:19):
Yeah.

Paul Malagerio (01:44:21):
He's got a horseshoe... [crosstalk 01:44:23]

Agent Matthew Bryant (01:44:22):
That doesn't make sense to me.

Paul Malagerio (01:44:23):
No, no.

Agent Matthew Bryant (01:44:27):
Anybody else? And you were in the truck with him when, what [inaudible 01:44:33]?

Paul Malagerio (01:44:32):
Well, the drive from [inaudible 01:44:37] down to Mercy hospital, which is about 30, 35 minutes.

Agent Matthew Bryant (01:44:40):
And that had been 2016?

Paul Malagerio (01:44:42):
Yes. September. [crosstalk 01:44:44]

Agent Matthew Bryant (01:44:44):
That's when you learned that he didn't have the ailments that he was claiming?

Paul Malagerio (01:44:47):
Well, here's what Ginger Harper filled the blanks in with. Mark was his personal care physician. But Mark
would talk to me and blab because I was [inaudible 01:44:57] military. Mark would tell me about Joe's
coke habit. Yeah, when he's in the limo, he does coke but when he can't afford coke, he...

                                         PART 3 OF 5 ENDS [01:45:04]

Paul Malagerio (01:45:03):
Yeah, when he's in the limo he does coke, but when he can't afford coke, he gets meth. Now, there's a
drug called ... It's not Fentanyl, I call it Finnegan. So Sunday, when Joe's at his ... He starts using usually
on his rant and binge, by Sunday, he's so dehydrated. [inaudible 01:45:21] helping the truck, so he
would say, "Mark, Mark, you've got to give me a shot, give me a shot." And it was a drug that's spelled
with P-H. Phinedal or something? That would help stimulate the appetite because he wouldn't eat. So
when we get to the hospital and I'm helping him. He was a sick guy, so I'm, "Okay. Help the guy out,"
right? I didn't know how much of an asshole he was.

Agent Matthew Bryant (01:45:50):
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Pause just a second. Give me a timeframe.

Paul Malagerio (01:45:50):
This was the time I drove him to the hospital in September 2016.

Agent Matthew Bryant (01:45:50):
Okay.

Paul Malagerio (01:45:50):
So I didn't know how much of a fraud he was then, but he's a sick guy, needs help and I'm helping him.
And he used to do the fake puke. So on his tours, he'd tell people how sick he was. The brace is fake, the
cane is fake, the brain tumor is fake. He told us he had Sickle Cell Anemia. He told my wife and another
girl there that he had ovaries. I mean, this is like ... And we would laugh about this. This is like, "Are you
freaking kidding me?" We get to the hospital, he gets the shot and he immediately feels better, and they
gave him an IV because he's dehydrated, and then he goes to Jack in the Box. He goes, "I've got to go to
Jack in the Box. Travis wants Jack." And he got $30 worth whatever that shit stuff is. He says, "You want
some of that?" And I ate one and I'm going, "Yeah, whatever."

Paul Malagerio (01:46:35):
As we got back to the zoo, Travis is waiting on the ATV at the exit ramp and he goes, "Oh, he loves me so
much he can't be without me." And I'm thinking, "No, he's probably stoned and jonesing for some fast
food."

Agent Matthew Bryant (01:46:46):
Yeah.

Paul Malagerio (01:46:46):
So we give him the bag out the window. So I was told that he does the uppers for how many days to
keep going because the mood swings were here and it was up and there, he's happy, he's sad, then he's
yelling and screaming. And then he would do a Quaalude on the Monday or Tuesday and he would be,
don't call, don't talk, don't knock on his door for like 24 hours.

Agent Matthew Bryant (01:47:10):
Do you know how he gets his cocaine?

Paul Malagerio (01:47:13):
Mark had made comments about him doing coke. He mentioned some names, but nothing that I really
recollect.

Agent Matthew Bryant (01:47:22):
Have you heard anything about him getting any drugs in the mail via FedEx or UPS?

Paul Malagerio (01:47:27):
Pot from Colorado.

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Agent Matthew Bryant (01:47:28):
Okay.

Paul Malagerio (01:47:28):
That was something that Mark told me about. A friend was shipping him pot from Colorado because he
always had pot. I mean, Travis was always smoking pot. He was the only one allowed to walk around
there, shoot his gun off during the day and be stoned on pot. All day long. The times he was conscious.

Agent Matthew Bryant (01:47:47):
Yeah.

Paul Malagerio (01:47:49):
Now that stands out because guns and drugs to me is a big no-no.

Agent Matthew Bryant (01:47:53):
Yeah.

Paul Malagerio (01:47:53):
And then you've got big cats, and then Joe taking him in the arena with the cats when Travis is stoned
and being an idiot. And I'm the one standing there waiting to fire a gun in the air to stop the cats from
attacking them. I'm going, like, "This is just stupid." Because I would never shoot a cat.

Agent Matthew Bryant (01:48:11):
Any knowledge of any commercial transactions?

Paul Malagerio (01:48:18):
Not that I can recollect right now. I'm sorry, but I wasn't really looking for that at the time because I
didn't really know the rules.

Agent Matthew Bryant (01:48:26):
Give me the timeframe you were there. How many babies do you estimate he had, how many other
animals did you see come and go that you can remember?

Paul Malagerio (01:48:40):
Now here's an issue. January, February, March of 2016, okay? Yes, we got there in 2015. The hospital
thing was 2015, not 2016. I left there 2016, April. The wife, Gretchen, would come home and I tape
recorded some of the conversations because I was asking her questions about that because we were
going through a divorce, so I've got recordings of this. She said, "Fucking Reinke." I said, "What?" She
said, "Well, I'm looking at Lisa Marie," the orange tabby, the tabby cat who kind of looks like this one.
And Gretchen already knew that it was stoned because she has the chemical immobilization course. She
understands the drugs used to sedate cats.

Agent Matthew Bryant (01:49:26):
Stoked. What does that mean?
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Paul Malagerio (01:49:27):
Stoned.

Agent Matthew Bryant (01:49:28):
Oh, stoned. Okay.

Paul Malagerio (01:49:30):
So she says to Reinke, "What's wrong with Lisa Marie?" And Reinke loved my wife and told her straight
out, "Oh, I gave her Trazodone because I wanted her calm for the play session." And I said, "What's
Trazodone?" And she says, "It's like methadone, Trazodone, so it's an opiate." And I go, "Oh." And the
pupils were so dilated and Reinke says, "Oh, I guess I gave her too much," because the cat's head is
flopping around. So when I repeated that to a message to somebody on Facebook, William Talley told
me when I hired him in Colorado that because of me knowing about that, they went and doctored their
medical bills, medical things to say Doc Green had prescribed it to Lisa Marie. I go, "Are you freaking
kidding me?" Ka-ching. I mean, not a smoking gun, but that's pretty shitty. So they had access to that
drug on their own and he's giving it to the cat.

Paul Malagerio (01:50:23):
So the wife says, she goes, "They've got a hundred and something cats here and they can't control their
breeding, so they have cubs." Now she has a lot more experience than these people at breeding cats.
When she would let her two breeding tigers that belonged to Doc Antle breed at her family zoo in
Natural Bridge, she would do it 110 days before the first of April. So they're born within a 48-hour period
every year, so when they're four to six weeks old, middle to end of May, she has them for tiger cub
photos for June, July, and August. It's basic animal husbandry. Don't have them produce in January, you
can't do anything with them because he was closed until March, right?

Agent Matthew Bryant (01:51:04):
Mm-hmm (affirmative).

Paul Malagerio (01:51:05):
So she said, "They need help putting their breeding pairs together and keep track and log books who's
mating. We have to look at [inaudible 01:51:15], we have to recognize this." We would get cubs. I was
there, my first week there in the back elm near where 73 was dead and I walked back to help Eric shift
the door and I said, "Why have you got a cub in there?" Eric goes, "What?" There was a two-week-old
cub living in the den that they didn't even know about. This just freaked me right out. And Reinke comes
down and says, just screams at Eric, "What? You guys don't know that a fucking cub was there?"
Because the cub would hide when they went into clean and shift. They didn't even know it was there.
And Eric goes, "Oh, I guess I dropped the ball on that one." So they get the cub out.

Paul Malagerio (01:51:56):
We call John down to the bottom of the hill. "John, we've got two cubs down here."

Agent Matthew Bryant (01:52:00):
John Reinke or Finlay?

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Paul Malagerio (01:52:02):
We called Joe and Joe would send John Finlay down. So Finlay would come down, he'd go in, shift the
mom out. He'd take two cubs, take them up the hill and forget about it.

Agent Matthew Bryant (01:52:13):
How old were these cubs that are taken off their parents?

Paul Malagerio (01:52:15):
Just born. So we go to clean again two days later and I crawl in and I find two dead cubs. They'd never
even checked to see if any more were born after we took those two out. And he lays them on the dryer
and my wife says, "He put those two dead cubs on the dryer." And I know the dryer because I repaired it
and replaced it and brought it from the appliance store in town and the guy taught me how not to use a
handcart that would bend the metal up on them, how to use an appliance cart. And I said, "On the dryer
that I brought from town?" She says, "Yeah, there's two dead cubs." And I said to her, "Did you take a
picture of it?" She said no. Because she was one of the only staff members allowed to have her phone
on the property because she could google anything. Nobody else was allowed to have their phone
because they're worried about people photographing this stuff. Walking up to the gift shop in
December, it's dark out, everybody's meeting and I'm-

Agent Matthew Bryant (01:53:06):
December.

Paul Malagerio (01:53:07):
Of 2015. And I hear a cub crying and I stop. And I walked in, I hear a cub. Go back and I go, "A1, this is
A4." [inaudible 01:53:21] I go, "I'm back here, I can hear a cub crying. I need some ears." So John Reinke
comes out, Joe comes out and we stand by the bears and we track it down and we walk. It was in the
cage right behind the arena, closer to the gift shop. Eric shifts the cats out, they go in, they pull out a
cub. All slap me on the back. "Oh, good call. Good call." The cat would have been dead in the morning
because it was cold out. So that cat was born. They didn't know the cat was pregnant, they had no idea
it was going to give birth. It was just mismanagement of animals that you're taking care of. Because this
went on so many times and I'd get home to the wife and I'm shaking my head, I go, "How do they not
know they're breeding? How do they not know they're pregnant?" And she says, "Because they don't
know what they're fucking doing."

Paul Malagerio (01:54:10):
People assume, because at that time, when you brag, "Oh, I've been doing this for 17 years and I know
this and I know that." Well, just because you've been doing it that long doesn't mean you know what
you're doing. You've been a fuck-up for all 17 years. You weren't doing it right, ever.

Agent Matthew Bryant (01:54:23):
So these tiger cubs get removed from their parents, or the mother, and, as soon as they hit the ground,
taken, raised inside, and then used in the tiger playtime?

Paul Malagerio (01:54:35):


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Some were. Some we never saw again. We never knew where they went. When I was there, they used
two cats for a long time. I mean, they used a cat for probably four months. Lisa Marie, that's why they
drugged the cat because they didn't have babies. So the wife, I think, after I left there sat down with
them and said, "Okay, who are your breeding cats? Who are your main breeders? Let's organize them.
Let's do it right." And she is probably the catalyst as to why they've had so many cubs the past year and
a half because she helped them organize them.

Agent Matthew Bryant (01:55:06):
Mm-hmm (affirmative).

Paul Malagerio (01:55:07):
And I hate to say it, but she's made this guy money because she would say, "Okay. If this is a breeding
pair, you need to keep track of when they mate and watch and check and look for that, and then
separate Dad at the right time. Otherwise, he's just going to have a free meal."

Agent Matthew Bryant (01:55:20):
So the money in the cat business is being able to take cubs out to shows.

Paul Malagerio (01:55:26):
The money in the cat industry is, depending what stage you're in, up to 40 pounds or three months are
allowed to have photo sessions or play sessions.

Agent Matthew Bryant (01:55:35):
Mm-hmm (affirmative).

Paul Malagerio (01:55:36):
And there's nothing wrong with that if you take care of the cats and you keep them. This is my personal
thing, again.

Agent Matthew Bryant (01:55:41):
But that's why you want babies because that's your avenue to make money.

Paul Malagerio (01:55:44):
Yes.

Agent Matthew Bryant (01:55:45):
And once a cat is above that, it's just something that you've got to feed.

Paul Malagerio (01:55:51):
Well, in Tim Stark's mind, the cat is only good for the time it can make him money, and after that he
doesn't care what happens to them. So he'll stuff four in the hatchback of a car, just leave the property.
He doesn't care where they go because he says, "Well, I'm only legally obliged to give them to that
person. What they do with them is not my problem. I don't have to find out who they are or whatever.


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They're just gone." Because he's got to house them and he won't build new enclosures and he's got to
feed them and he hates feeding cats.

Agent Matthew Bryant (01:56:19):
Joe makes a lot of money on baby cats.

Paul Malagerio (01:56:22):
Yes. He had nine for sale, I think about three months ago because I was asking Trisha about that and she
said, "Joe's got nine cubs for sale."

Agent Matthew Bryant (01:56:33):
But you can't sell tigers.

Paul Malagerio (01:56:33):
And yet he does.

Agent Matthew Bryant (01:56:36):
But he hides the sale of the tigers by how?

Paul Malagerio (01:56:43):
I assume the same thing that Tim Stark says. Someone comes to pick up a cat, he doesn't ask who you
are, if you're a broker, what you're going to do with it. He hands you the cat. One technique that he
would use, I was told, is that you don't pay him for the cat, you pay him for his expertise in raising it up
until that point in its life. Or the old thing that Lynn Culver told me about where people would sell
jaguars. You don't purchase the jaguar, you pay 10 grand for the transfer cage that it's getting shipped
in.

Agent Matthew Bryant (01:57:13):
Yeah. But they would have this money through donations and stuff like that and having forms and stuff
that would say donation instead of an actual-

Paul Malagerio (01:57:23):
That's my understanding, yes.

Agent Matthew Bryant (01:57:24):
And you believe this is often done for tax reasons?

Paul Malagerio (01:57:30):
Well, I assume when someone takes money and circles donations because they have a charitable status
and don't have to pay tax on it.

Agent Matthew Bryant (01:57:38):
Well, why would you take money and then write donation on a form?

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Paul Malagerio (01:57:41):
Exactly. Yeah. It's not honest.

Agent Matthew Bryant (01:57:48):
No.

Paul Malagerio (01:57:48):
That money never would've taken care of animals, I know that.

Agent Matthew Bryant (01:57:51):
Tell me about Reinke.

Paul Malagerio (01:57:55):
Reinke self-admittedly hates people. "I fucking hate people." Now, I actually liked working with him
because I work, I just don't show up and say, "What's going on?" I would say, "Hey. Tomorrow we're
going to get gravel for the bottom hill." And he goes, "Yeah, if we can get the fucking tractor started,"
because it always had a dead battery. I said, "Well, what time are you here? I'll help you with that." So
we would actually work. We got along, but he does not like people.

Agent Matthew Bryant (01:58:18):
Is he Joe's right hand man?

Paul Malagerio (01:58:21):
He was on and off. When I was there, Joe bragged that he got fired and quit nine times. He'd leave but
then come back, leave and then come back. And I saw a plaque up by the bear enclosure where he
donated something in his family's name for one of the bears, so he'd been, I guess a visitor and then
wanted to work. He was terribly broke when I was there and he's got that house at the back that we
helped fix up and stuff, we did tile work, whatever. And he had to borrow a payment on it from a guy
named WT, who was sponsoring Lisa Marie, the tiger cub. And this guy drove a Harley, he had a tiger on
his gas tank and he was an old biker type guy. He was a horse trainer. Super nice guy. And we were
friends on Facebook until I left there, and then Joe instructs people, "You can't be Paul's friend or you're
not my friend." You know, the whole cult thing.

Paul Malagerio (01:59:16):
But I actually got along with Reinke. I sent him messages when I left there and he said, "I don't like you,
Paul." And blah, blah, blah. I don't know. I've still got his number on the phone.

Agent Matthew Bryant (01:59:24):
Yeah. What about John Finlay?

Paul Malagerio (01:59:28):
John Finlay, sad to say, is quite a simpleton. Not a clear thinker. He thought he was really smart one day
when he said to somebody there, he goes, "I bet you don't know what ODOT stands for." And they're
like, "What's ODOT?" He goes, "You don't even know what it means, do you?" They go, "What?"

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"Oklahoma Department of Transport." He thought he was really sharp that he knew that. That's the
extent. I said to him once, "Hey, when your IQ hits 60, you should probably sell, John. He didn't even get
that one. He had no recollection of it. I got along with him, I liked him, but more sort of like I felt sorry
for him.

Paul Malagerio (02:00:06):
Amber was a nice young lady. Now I'm always joking with people, so when the baby came out they
actually, in front of John, would discuss if it was his kid or not. So I'm holding the kid one day and I look
at him and I said, "I know this is John's kid for sure." And Melissa goes, "How do you know that?" I go,
"She has his tooth." Everybody breaks out laughing. So that was always a fun, jovial thing. Amber was
doing pretty tough, so we'd go to Walmart, I'd buy her diapers. We weren't rich, but 10 bucks for some
kid who needs diapers, you just do it. And she'd go, "Thank you." Like, kind of embarrassing to her, but,
"Thank you." John had nothing.

Agent Matthew Bryant (02:00:41):
Is it true to say he has limited knowledge of what goes on and how the place is managed, but he is Joe's
fetch-and-getter?

Paul Malagerio (02:00:50):
Yes. He is the transport. John, Mark Thompson, Tim Sepi, in May of 2016, left the zoo with two tiger
cubs and drove to Florida to Sue Pierce. And I told a friend of mine that who hates them worse than I do
and he says, "I'm going to tell Carole Baskin."

Agent Matthew Bryant (02:01:11):
Who's Sue Pierce?

Paul Malagerio (02:01:12):
Sue Pierce is another zoo owner who's a friend of Joe's in Florida.

James Garretson (02:01:18):
She's in Fort Lauderdale.

Paul Malagerio (02:01:19):
Delivering tiger cubs to her, and on the way back we're stopping at Doc Antle's and picking up more cats
to bring out to Joe's. So my friend said that he's going to try to get them popped for that and he said he
contacted Carole Baskin and said, "Fish and Wildlife is going to be waiting for them." Now in my truck, I
wrote down the license plate numbers of both dualies and I says, "Well, here's the license plate
numbers of the vehicles. One's the white with this number, one's the burgundy with that one and
they're going to be hauling a trailer." And I know John always had his gun and uppers, Tim Sepi always
had marijuana on him, he's a felon, and Mark always had his gun with him, so I'm thinking between the
three of them, there would probably be a pretty serious crime somewhere in the cab of that truck.

Paul Malagerio (02:02:06):
They went there, drove back, and nothing ever happened.

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Agent Matthew Bryant (02:02:17):
What's Eric's last name?

Paul Malagerio (02:02:18):
Cowie. C-O-W-I-E.

Agent Matthew Bryant (02:02:22):
C-O-W-I-E?

Paul Malagerio (02:02:24):
He's a vet. As far as a military vet.

Agent Matthew Bryant (02:02:31):
Okay. Did you ever see Joe and Green out there putting animals down?

Paul Malagerio (02:02:38):
Doc Green was there several times. Black Ram, quad cab pick-up truck, but she always seemed to be
called too late to do anything. Let me think about her putting animals down. We took a liger to her
office that had convulsions one day. 275 pound cat and we put it in a stretcher, took it through the gift
shop, put it in the back of a pick-up truck. And there was six of us and Joe screams down I-35 for the
next exit at 75 miles an hour. We're holding this cat with the tailgate down. And the reason he was going
so fast is so Tim Sepi could videotape that like it's a big emergency run. It was all for going on YouTube.
Nothing to do with the cat. And we got the cat there and checked it out in Doc Green's office and it's a
pretty rough looking office.

Paul Malagerio (02:03:32):
Doc Green actually saved my wife's mountain lion's life by getting her surgery. Opening her up. The cat
had been operated on previously and the intestines had adhered and there was a blockage, so we
thought the cat had eaten a tarp and she actually cut that piece out. Charged her $500 to sedate and do
stomach surgery on the cat, so I thought that was pretty cool. Pretty rough place though. I was kind of
concerned about infections and stuff.

Agent Matthew Bryant (02:03:57):
So it's not a well kept up vet clinic.

Paul Malagerio (02:03:59):
It's good for cows.

Agent Matthew Bryant (02:04:06):
Mm-hmm (affirmative). She handles all Joe's stuff?

Paul Malagerio (02:04:08):
Yes.

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Agent Matthew Bryant (02:04:09):
The log books in Joe's office. You ever seen any log books or know how everything's filed there?

Paul Malagerio (02:04:15):
The big cat book, Eric and I would fill it in every night with our observations because we were told to
write down everything right or wrong with cats. And he didn't do it for a long time that I was there. Did
it for a little while and then I never even saw it again, so it never was kept up. It was never done all the
time.

Agent Matthew Bryant (02:04:35):
What about transfer forms, documents, anything like that in Joe's office? Do you know how they're
stored or kept?

Paul Malagerio (02:04:40):
No.

Agent Matthew Bryant (02:04:42):
Have you ever heard of anything called a cub book?

Paul Malagerio (02:04:46):
That's where they ... Oh, Reinke made a comment when I was there. When I found that cub outside, he
said a number. He looked at Joe and he said a number and it was 260 something- or-other.

Agent Matthew Bryant (02:05:00):
260 something what?

Paul Malagerio (02:05:04):
He said, "That's 260," whatever. He was referring to the number of cubs. And that stood out. And I
looked to my wife later and I said, "What was the number?" She says, "That's the number of cubs." I go,
"In how long?" She says, "I don't know." But we talked about it later, that's how I remember the
number. So I don't know if that's since Reinke's been there, since Joe's been there. I don't think it was
that year. He goes, "That's 260," blah, blah, blah. And that was December of 2015 that he said that
number. And if that comes up in paperwork anywhere, I mean, that would be interesting to see. He
made a point of saying that. He was actually counting how many cubs had been born there.

Paul Malagerio (02:05:39):
It's amazing how much you can remember when somebody asks you the right questions.

Agent Matthew Bryant (02:05:43):
Well, I hope that I've put some stuff in your mind. I know y'all got things to do. I would like for you to do
what James is doing, is get you a notepad out by the TV, when you're relaxing, something crosses your
mind, just write it down, or an interaction that you had during the day or a conversation, you jot it
down. Because he's been keeping a diary for me. I'd like for you to do the same thing.


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Paul Malagerio (02:06:11):
Okay.

Agent Matthew Bryant (02:06:11):
I would like to figure out what's going on at Joe's. I'd like for you to keep a relationship with Eric. I know
it's difficult since there's no way to really communicate with him.

James Garretson (02:06:18):
Eric's not on Facebook or nothing, is he?

Paul Malagerio (02:06:19):
No. No phone, no computer.

Agent Matthew Bryant (02:06:22):
Whatever other contacts you have, just to kind of keep going on what's going on at Joe's.

Paul Malagerio (02:06:29):
Yeah.

Agent Matthew Bryant (02:06:29):
And I know, James informed me that you'd really rather not Joe know that you were back in the area?

Paul Malagerio (02:06:39):
I don't want to burn this man.

Agent Matthew Bryant (02:06:40):
Mm-hmm (affirmative).

Paul Malagerio (02:06:43):
He had sent me a friend request and I deleted it because I'm paranoid, and I got off Facebook and he
sent me a message about mountain lions and we started talking, and I realized he's even more disgusted
by Joe than me. And I needed a place to go and he gave me this amazing opportunity, but Joe's evil.
Joe's dirty. And I don't want this house and this family being disrupted because of my presence here. I'll
tell you.

Agent Matthew Bryant (02:07:07):
All right, so I'm going to conclude the interview. It is 1:44 on the 29th of January, 2018.

Paul Malagerio (02:07:19):
You want to hear this?

Agent Matthew Bryant (02:07:19):
Yeah.

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Paul Malagerio (02:07:30):
My wife was a bargaining chip for Tim Sepi to stay at the zoo because he was chasing my wife's ass for a
while. And the wife and I were getting a divorce, there was no animosity. I said, "What do you want to
do? Let's split up our money." She said, "Okay, fine." And she came over on Tuesday, December 13th
and said she's leaving. I said, "That's fine." We were going to go to Safari Sanctuary. She didn't want to
go there. I said, "Okay, I'll take my cat, Lu-Lu, and you can have your cat with the tigers." "Okay, fine."
We never fought, never argued. She's half my age, what is there to fight about?

Paul Malagerio (02:07:59):
So January 20th, the following Wednesday, John packed up my cat in the trailer, we drove to Broken
Arrow. Property manager phoned me from the apartment because the lease was in my name because I
got the apartment before she moved out here. He said, "Hey, your wife wants to keep the apartment." I
said, "Well, have her give me a call." And I didn't realize that my wife went a filed a protective order
against me and that she blocked me on Facebook and [inaudible 02:08:25]. I go, "That's strange." And
then she cancels my phone, cancels my truck insurance, and then they start putting pictures on
Facebook. Joe sent a photographer with them. My wife and Timmy, all these kissy face photos. I'm
going, "What the fuck is this?"

Paul Malagerio (02:08:42):
And then getting up one early one morning, and it was a Sunday morning and they're going to the Davis
Flea Market. My wife didn't get up early. She's on Adderall. She was fucking hard on the shit. And her
eyes are like, "Oh, look at my boyfriend. He's so ridiculously handsome." And I go, "That's got to be a
fucking joke. This guy's a dirt bag. He's a joke. What a dirt bag he is." He's a felon. I've got a thing on
Facebook where he says after being an escaped felon in Long Island, I'll take it up the ass from Joe and
Travis. And when shit hit the fan, I sent that to her parents because we both moved back to the family
zoo.

Paul Malagerio (02:09:13):
So when I hired William Talley to come out to Colorado, I said, "What the fuck is with Gretchen and
Timmy?" I still didn't believe it because Gretchen is a stylish, classy woman. Her best friend was Timmy's
girlfriend, a Mexican girl, and they wanted to get married. And all of a sudden my wife is together? So I
smelled a bit of a ruse. Here was the plan. They were putting all this up there and having people send
this to me because they wanted me to go back to the zoo.

James Garretson (02:09:42):
Brittany, can you shut that door?

Paul Malagerio (02:09:43):
To get in his face and her face. Mark, John, Joe, probably Reinke were told as soon as I step foot on the
property that they could get away with shooting me. Are you fucking kidding me? They wanted to kill
me because the wife and I are going through a divorce and there's five figures of house money sitting in
the bank account, they wanted to keep it. Tim Stark, on a Sunday night, I said, "Okay, I'm leaving
Tuesday morning to drive to Oklahoma for court Wednesday for my divorce hearing." He said, "Okay, no
problem." Monday morning he said, "I want you off the property." I said, "What?" He said, "I want you
off the property." I go, "Why?" He goes, "Don't ask, just get your fucking shit and get off the property." I

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go, "What happened?" And he's wearing his gun, which he never wore. I go, "Why are you wearing your
gun?" " Well, when I shift cats, I always have my gun." I go, "You've never worn a gun since I've been
here. Does this have anything to do with me? Because I'm not fighting with anybody." I'm afraid of no
man.

Paul Malagerio (02:10:38):
The deal was to fuck me up. So I drive off the property with my mountain lion and my Geoffroy's Cat
with nowhere to go, so I wouldn't show up to the court hearing Wednesday thinking my wife was going
to get all the money from the divorce. This was a fucking plan they thought of. So Joe told Tim and Tim
kicked me off. Well, I drove to a rest stop, I called Bill Hale of Oklahoma Fish and Game, I went to Joplin,
Missouri, I got the fax machine, stayed overnight. On Monday night, I got permission to enter Oklahoma
because everything's done by the book. Got to court Wednesday, my cats were at Safari Sanctuary, I've
got it on my phone. First thing my wife's lawyer says is, "Well, if you don't take 10 grand, your wife's
going to have you arrested for illegally transporting your mountain lion, he's going to be seized." And I
go, "Hold on." And I'm on Google Forms, I go, "Hold on." And I've got it right here and I go, "Copied it."
He goes, "Oh." Walks out of the room.

Paul Malagerio (02:11:35):
That's shitty, man. That made it personal to the point where, yeah, I hate the guy's guts. And I'm going
to go down in a gun battle? For what? For a woman? Fuck off.

Agent Matthew Bryant (02:11:43):
Why did you leave Joe's?

Paul Malagerio (02:11:45):
He fired me. Didn't want me there.

Agent Matthew Bryant (02:11:47):
And that was when the divorce and all that was happening. That's when he kicked you-

Paul Malagerio (02:11:53):
We were both leaving. The wife and I were packing up our stuff. I put 500 bucks to break the lease at the
apartment to leave to go to Broken Arrow to the sanctuary and she went up there with me. We spent a
day cleaning a cage for our tiger, mountain lions are going to go here. They took the lemurs out for the
Geoffroy's Cat to go in. I said, "Here's where we're going to be staying." And I said, "Look, if you don't
want to stay with me, don't worry about it." She says, "Well, how are we going to survive here?" I says,
"We've still got money, we'll be fine. We can get jobs, we can work here. We can get something to live in
town." I says, "You can live here, I can live here." I said, "Whatever you want. We'll work it out."

Paul Malagerio (02:12:24):
And that's when Tim Sepi was quitting at the same time. And here's the capper. The wife and boyfriend
put on Facebook last year they're going to get married. Joe's comment is, "Just call me [inaudible
02:12:38]."

Agent Matthew Bryant (02:12:37):

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Now where's Joe Sepi now?

Paul Malagerio (02:12:42):
Tim Sepi is in Natural Bridge, Virginia.

Agent Matthew Bryant (02:12:45):
Tim Sepi.

Paul Malagerio (02:12:46):
He was seen wearing one of my pistols on Joe's property last.

Agent Matthew Bryant (02:12:52):
How do you spell his last name?

Paul Malagerio (02:12:53):
S-E-P-I. He's a convicted felon who is always in possession of marijuana, has no drivers license. One thing
that you should know is he has the copyright on all of the videos that he took and all of the photos, so
Joe has to be friends with him forever. He's got stuff on video.

Agent Matthew Bryant (02:13:13):
Is he a videographer?

Paul Malagerio (02:13:14):
Yeah. He ran the studio. He was the studio guy. So he'd walk around and everything you saw video
taped, the presidential stuff, that was all Tim Sepi. He has a company name, whatever, Tut Photography.
He was doing all this and editing it, so you hear on the radio, "A1, 30 minutes." That's to be at the studio
to do his live broadcast and Joe would go [inaudible 02:13:38]. And so all of that stuff. Here's something
you'll find interesting. Ginger Harper told me that the $250,000 at that point of equipment in the studio
is in Tim Sepi's name, so Joe wouldn't have it in his name. So, on paper, it belongs to Tim Sepi.

Paul Malagerio (02:13:59):
So when they went back in March to work because the wife's not making too much money at Daddy's
zoo and Dad won't hire a tattooed felon pothead. They were wiring Jeff Lowe's bungalow so Joe could
keep an eye on what Jeff's doing because he doesn't trust him.

Agent Matthew Bryant (02:14:18):
So are they all back at the zoo now?

Paul Malagerio (02:14:20):
No. They went to Virginia, back to her family zoo. My wife hates Joe, she can't stand his freaking guts.

Agent Matthew Bryant (02:14:30):
Who was that other videographer that you were telling me about?

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James Garretson (02:14:36):
[inaudible 02:14:36]

Paul Malagerio (02:14:37):
Oh, the one that supposedly burned down the thing?

James Garretson (02:14:38):
Yeah, [inaudible 02:14:39] that burned the studio.

Paul Malagerio (02:14:40):
Yeah, Mark knows a lot about that. Mark Thompson. Mark tried to convince me it was Eric because of a
video. Someone walking past the gift shop. I said, "Well, it looks like Eric walking, but you can't see his
face."

James Garretson (02:14:51):
Eric?

Paul Malagerio (02:14:57):
Yeah. I knew it wasn't Eric. Why would Eric burn that down? Eric's like [crosstalk 02:15:01]

James Garretson (02:15:00):
Joe told me Carole Baskin paid Rick Kirkham 50 grand to go burn his studio.

Paul Malagerio (02:15:08):
And everybody knows it's Joe for insurance.

James Garretson (02:15:10):
For insurance money probably.

Paul Malagerio (02:15:14):
There's more to elaborate on this as I go over it.

Agent Matthew Bryant (02:15:15):
Well, just think about it and we'll-

Paul Malagerio (02:15:15):
Well, the thing about Timmy is, whenever you go to speak to him or if he got pulled over, he has
possession of two handguns that were mine that my wife said weren't in the storage locker and then put
the photos on Facebook afterwards, which is, for a felon, a big time problem. Plus pot. So the nice thing
about that is being a layman is when he's in the room saying, "This and that or do you want to talk about
Joe?"

Agent Matthew Bryant (02:15:41):

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Mm-hmm (affirmative).

Paul Malagerio (02:15:43):
That's the game, right?

Agent Matthew Bryant (02:15:44):
Yeah.

James Garretson (02:15:44):
And he had all those videos and everything, all the recordings.

Paul Malagerio (02:15:48):
It's all copyrighted, it all belongs to Tim Sepi.

James Garretson (02:15:50):
[inaudible 02:15:50]

Paul Malagerio (02:15:50):
There's stuff on there that Joe doesn't want to come to light. So Tim's got the goods. I can give you his
address in Virginia if you want.

Agent Matthew Bryant (02:16:06):
Yeah. I'll get that later. You know much about Omar?

Paul Malagerio (02:16:11):
I met him in Doc's place. He pulled up in a rented Lamborghini for his son and when Cody tried to move
some gibbons for him actually my wife put the arm brake on it in an old van, she went with three
Mexicans and they're the ones that are driving back to Texas while he flies back. I can ask Trish about
him, but he sells monkeys. He sells probably a lot more than he's breeding.

Agent Matthew Bryant (02:16:35):
Yeah. I think that Omar is smuggling monkeys in from Mexico. I'd like to find out how to make that-

Paul Malagerio (02:16:46):
DNA with the ones that are breeding?

Agent Matthew Bryant (02:16:48):
Pardon?

Paul Malagerio (02:16:48):
The DNA with the ones that are breeding, that won't match up.

Agent Matthew Bryant (02:16:53):

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Yeah. Well, we need to get some. I know we've got the one lemur here. What animal is it?

James Garretson (02:17:00):
Those two lemurs, the one with the no eye.

Agent Matthew Bryant (02:17:03):
Yeah.

James Garretson (02:17:04):
Those are coming from Omar.

Paul Malagerio (02:17:08):
He has the mandril that I raised in Virginia named Marcus.

Agent Matthew Bryant (02:17:12):
What species do you think he'd be getting from Mexico?

James Garretson (02:17:15):
[inaudible 02:17:15] he has.

Agent Matthew Bryant (02:17:18):
I've got a list of everything that was on it from his last inspection.

Paul Malagerio (02:17:22):
Omar invited me to come and see his place anytime when I met him in Florida because he now has
basically my little monkey son that I raised who Morgan Simpson took care of at Zed WF with Mary
[inaudible 02:17:35]. There's a freaking whole case right there. It's okay, don't even talk about that one.
I googled what I got back, I go, "Holy fuck, we just had lunch with that guy?"

Agent Matthew Bryant (02:17:44):
Another person to think about with your interactions with and how things work is Jeff Lowe.

Paul Malagerio (02:17:50):
He's scared to death of you. When I put the truth on there, he sent me texts he says, "If you don't take
that down, I'm going to send pictures of your wife sucking Timmy's horse dick." I go, "Well, that's fucking
classy."

Agent Matthew Bryant (02:18:01):
Yeah.

Paul Malagerio (02:18:02):
He's a fucking piece of shit.


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James Garretson (02:18:05):
Jeff Lowe's been out of touch for three days.

Paul Malagerio (02:18:08):
Coke binge. I could save a lot of time with this if you just put me in a room with Joe or Jeff and I sure
would ask them. I would just ask politely, I swear. I can be kind of persuasive. I know the right
terminology, it's called a 26-inch asp.

Agent Matthew Bryant (02:18:26):
Think about Omar. Think about Trish. Trish is involved in this. Trish has got some violations.

Paul Malagerio (02:18:34):
Shit.

Agent Matthew Bryant (02:18:35):
Yeah. I mean, we know that she's been purchasing tigers from Joe, we know she's brokering tigers for
Joe.

Paul Malagerio (02:18:42):
Yeah. Through Jenny Brister.

Agent Matthew Bryant (02:18:45):
Right. So they're all involved in this conspiracy. So she's going to be facing some stuff, but the thing
about Brister.

Paul Malagerio (02:18:55):
She's still working.

Agent Matthew Bryant (02:18:57):
I would rather have Brister's cooperation than Brister charged.

Paul Malagerio (02:19:02):
Okay.

Agent Matthew Bryant (02:19:03):
Or, not Brister. Trish Meyer. I want to charge the Bristers.

Paul Malagerio (02:19:09):
Okay.

James Garretson (02:19:10):
Yeah, the Bristers sure know what's going on.


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Agent Matthew Bryant (02:19:11):
Yeah. And I'd like to know how Trish Meyer paid for those cubs.

Paul Malagerio (02:19:20):
Is it Jen Brister, Jenny Brister?

Agent Matthew Bryant (02:19:22):
Jenny. And her husband is Michael.

Paul Malagerio (02:19:25):
Okay. Because James directed me, after a discussion with you about this-

James Garretson (02:19:34):
Well, I asked about the tiger cubs.

Paul Malagerio (02:19:34):
Mm-hmm (affirmative). So I could still purchase one if that's ... I'll read you the whole thing right now
and I won't do this without permission or direction. I don't get into this stuff. She's still willing to sell me
a cub. I said, "Hey, I got your name from my friend Trace. I'm in Oklahoma. Do you know where I can get
a couple tiger cubs?" She said, "Tracy who?" And I said, "Tracy Perry," blah, blah, blah. She said, "The
guy only has one." "Can you tell me the color?" "Orange, $4, 000." "Do you know the age and sex?" "I
can ask. Which friend named Tracy do you know?"

                                        PART 4 OF 5 ENDS [02:20:04]

Paul Malagerio (02:20:03):
... "a thousand. Do you know the age and sex?" I can ask, "Which friend named Tracie do you know? Is it
Tracie Perry? I met her at Indiana a year and a half ago when she was picking up tiger cubs." "Oh, okay.
She don't like me much. You must have met her at Tim's place." Oh, fuck.

Agent Matthew Bryant (02:20:12):
Yeah.

Paul Malagerio (02:20:14):
"Yes. I used to work for Tim stark. He doesn't like me much either." She said, "Okay. He doesn't talk to
me much anymore either." I go, "Well, that's no loss." She said, "No, not really." Waiting to hear back a
second. She says, "You have tigers?" I says, "I raised tigers for zoos, sanctuaries, private owners." "Oh,
okay. But you're not Fish and Wildlife or a game warden?" I said, "God, no, you can check out my
Facebook page." I said, "I stayed at Trish Meyers a year ago, September, when she had cubs in her
house." "Okay. People tried to get me in trouble last month for transporting a tiger. It's not my job to
check out the buyers' USDA. It's the sellers'. I just transport."

Paul Malagerio (02:20:49):


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I said, "Well, I don't want to get anybody in trouble." She said, "Tracie Perry would, if she knew I was
going to transport for you. Be careful of her. I say that for good reason." I said, "I'll forward you the
message she sent the other day in regards to contacting you. Bear with me, I'm not very technical." And
Tracie Perry had said, "I don't deal with tigers. Jenny [Brister 02:21:08] was selling some a while back
and Trish had some." And I said, "The above message is Tracie Perry." She says, "Oh, sure used to. She
used to transport tigers. I'm sure if she thinks she can trust that person, she still would. I don't sell them.
I transport them. I only have two monkeys." "Can I ask what person you mean?" "If she thought she
could trust any person, she would transport for them, Luke, Tim, or someone like that."

Paul Malagerio (02:21:33):
I said, "Do you know who stole 6,000 from Trisha Meyer?" I said, "No, I did not hear that. They must
have been a monkey deal." She said, "Yes, capuchin." "That's really sad to hear. People in this industry
just fight with each other, blah, blah, blah." And she comes back, "Female, one week." This was January
11th.

Child (02:21:53):
Hey, daddy.

Paul Malagerio (02:21:53):
"One week and she's $4,000. So let me know what you decide. We got a snow and ice storm headed
towards us tonight, Sunday or Monday."

James Garretson (02:22:02):
Come here, baby.

Paul Malagerio (02:22:02):
"Okay, I'll try. So I'm waiting to hear from if we can do that, because I can't do [crosstalk 02:22:06]."

James Garretson (02:22:05):
Come here, baby.

Paul Malagerio (02:22:06):
"No problem." She says, "You have USDA. Have you decided?" And I'm waiting, waiting. "Sorry for the
delay. Yes, we have USDA. We found two for 5K, but we still need two more for the end of January.
Hope you can still help us then." Now, there was no two more for 5K that was just to let her know-

Agent Matthew Bryant (02:22:23):
Right.

Paul Malagerio (02:22:24):
... trying to keep the hook in, right? "Don't know if he will have anymore by then. Want me to see if he
would come down some? This one is one week old." I said "Okay." So, the price now goes down to 3,000
because I'm not interested. I said, "Oh, I will know on Monday, and I will let you know. Thank you so
much." She says "Thank you." January 13th. That's what's left until I'm told otherwise.

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Agent Matthew Bryant (02:22:46):
Yeah.

Paul Malagerio (02:22:46):
If that's useful?

James Garretson (02:22:48):
Hey, Matt, what do you think about this, just hypothetically. You know I know kind of the lingo, and how
they talk, with those groups and all that? What if I set up a Facebook page, and I have some old
[crosstalk 02:23:05] that I used to own, and pictures of tigers, and stuff. What if I decorated a nice
Facebook pages? A nice Facebook page?

Agent Matthew Bryant (02:23:14):
Mm-hmm (affirmative).

James Garretson (02:23:14):
And then basically struck up a conversation? I think I can convince them all to bring tigers over to Texas.
And then once you bring the tiger? Then I can be like... we find a house down there or whatever, a big,
decent house that we can borrow. Then I'd be like, "Yeah, I've been looking for some skins for a while,
but last one I found is 7,000," and we just fucking goes, bam, bam, bam.

Agent Matthew Bryant (02:23:41):
Yep. I know I like it. There's a lot that we could do there.

James Garretson (02:23:44):
And I could strike up a friendship with Omar. He's never seen me either. I could go down there and visit
him. Because Omar, he's the big money guy. I bet he's cleaning money. If he has... Does he have
anywhere near 300 primates?

Paul Malagerio (02:24:03):
I heard four.

Agent Matthew Bryant (02:24:06):
Well, he's got around somewhere-

James Garretson (02:24:06):
Hundreds?

Agent Matthew Bryant (02:24:07):
... in the neighborhood of two to three, I believe.

James Garretson (02:24:07):
Oh, God.

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Paul Malagerio (02:24:09):
I saw a picture of him doing some custom cement work with a drain outside the road. I'm thinking,
"You've got people building custom, ornamental drain work on the road. You got money."

James Garretson (02:24:21):
Yeah. And he's down there where the drugs are. And you know my friend? I've got a guy down there
too. His name is Sal [McCord 02:24:30]. He lives in Laredo. He used to be my club manager, and he looks
like somebody out of a cartel.

Agent Matthew Bryant (02:24:36):
Yeah.

James Garretson (02:24:38):
He probably knows Omar. I wouldn't know, but I'm thinking about it, he probably knows him. He's back
down there because I sued my ex-business partner. We were in court this week in Tarrant County. So I
went in there and we got a judgment and all that stuff. And I've got to bring Sal up to do my prove up
hearing. But yeah, he lives down there. Sal lives down there. I bet we could do it. Because... I think it's
just like when you know the animal stuff and you know the lingo? It's easier to do it than like an agent or
somebody could do it, you know?

Agent Matthew Bryant (02:25:12):
Yeah. I just would like to... I'm getting some pressure from my folks, for me to finalize this case and get
her shut down by April.

Paul Malagerio (02:25:23):
Going on too long, hasn't it?

Agent Matthew Bryant (02:25:24):
Now that... It takes a while to put this type of stuff together, but the bean counters up there just want
more case. Time for us to [crosstalk 02:25:31]. And I said, "Well, I can get more if you'll just give me
time."

James Garretson (02:25:38):
Yeah.

Agent Matthew Bryant (02:25:38):
What we really need to do, and I guess my next step on you, on this is to text Joe and say, "Hey, my
buddy James from Texas called me, and he's still interested in those hides. He said that he called and
talked to you." And then we'll just see where that goes, see if we can get him talking about that again.
And if Joe's needing money?

Paul Malagerio (02:26:04):
Like always.


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James Garretson (02:26:09):
Him and Jeff are fighting now. I think that's why they're kind of being standoffish, because what
happened the other day is me and Jeff were on the phone talking about PETA. And I mentioned
something about the two bears, Steeple's bears. I was like, "Yeah, Steeple's just sold two bears to PETA."
And I guess Jeff mentioned it to Joe. Joe calls, Doug Terranova... He's a good friend of mine. That's
where I started in the industry... and told Doug not to talk to me because I mentioned something about
PETA, because Doug's in talks with PETA too, about buying him out.

Agent Matthew Bryant (02:26:52):
That bothers me a little bit. Joe's concerned about you.

James Garretson (02:26:54):
Well, to Doug. He doesn't want me and Doug talking. He's not on to anything or nothing like that. It
might mean he's-

Agent Matthew Bryant (02:27:02):
He might be wondering why you're wanting to hang out and bullshit.

James Garretson (02:27:04):
He just wondered why I'm talking to Jeff Lowe, probably, because it's kind of rare. I guess I talked to Jeff
Lowe, and I guess Jeff Lowe mentioned some things in conversation-

Agent Matthew Bryant (02:27:15):
If you get with Joe again and talk to Joe, and you bring up the fact, "Yeah, I talked to Jeff. I don't talk to
Jeff." I would make it-

James Garretson (02:27:23):
I'll just tell him Jeff called me, wanting me to do some stuff for him.

Agent Matthew Bryant (02:27:26):
Yeah, and tell him it's about y'all's business that y'all share.

James Garretson (02:27:30):
And Jeff Lowe actually contacted me... and I'm going to forward this all to you too... the other day,
pictures of shoes, because I guess Jeff Lowe's out there and he doesn't have any money. So, he found
this... and it was probably to try to get money out of me, but he found this maker of these shoes. He
could make these shoes for three grand, and sell them for 25,000 a pair, as Prince's shoes. "So, you want
me to invest in some fraudulent shoes to sell as Prince's shoes," so, you know that's-

Paul Malagerio (02:28:02):
That's a drug addict.

Agent Matthew Bryant (02:28:02):
See, it's one scam after another [crosstalk 02:28:04]-
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James Garretson (02:28:04):
Yeah, and then-

Paul Malagerio (02:28:05):
Dirtbag.

James Garretson (02:28:05):
... when he told me about the tiger fucking chewing his... Well, basically just trying to destroy the
suitcase because he was so big. They've got to zip it up in a suitcase and carry it in the hotels.

Paul Malagerio (02:28:17):
Tell him we'll take that cat. Have him deliver it here.

Agent Matthew Bryant (02:28:25):
All right.

Paul Malagerio (02:28:25):
Hey, do you have any concerns that Joe has caught wind of any of this?

Agent Matthew Bryant (02:28:30):
There's always rumblings. I mean, that something's going to happen or people are getting looked at. But
they always thought that.

Paul Malagerio (02:28:37):
That's true. Because as much as he's a complete fucking asshole, he's sharp. He's smart. He's crafty. He's
like a fucking snake on crack. He'll find a way up. He'll find a way to burn somebody. He's done this for
so freaking long-

Agent Matthew Bryant (02:28:52):
What James has been had his eyes opened to is how much Joe uses him to try to put him in the middle.

Paul Malagerio (02:28:56):
Yep, yeah.

James Garretson (02:28:56):
Oh, yeah.

Paul Malagerio (02:28:56):
Yeah, like, "You go sell-

James Garretson (02:28:56):
"Hey, here, James. Here's a tiger skins. Go sell it and you can take 500 bucks out of it." Oh, yeah.


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Paul Malagerio (02:28:56):
Yeah, for sure.

James Garretson (02:28:56):
You know I'm just thinking, I said, "Motherfucker, I live in Oklahoma too. Why couldn't you do it?"

Paul Malagerio (02:28:56):
Yeah.

James Garretson (02:28:56):
The same thing.

Agent Matthew Bryant (02:28:56):
But we need to hit him back up on that. Just send him a text, see if he'll call and talk to you about that. If
he needs money, he will. Or I could buy a cub, buy a tiger cub. I need to think about that.

James Garretson (02:28:57):
Man, I could hammer it, man. If you can just give me a little free rein on that? I will hammer that out.
Because I'd just be like, "Hey, Brister-

Agent Matthew Bryant (02:29:33):
But the problem, the legal problem is, we want Joe. We get the Bristers? That's fine. But we're going to
get them in the middle of it anyway. But if we set up this deal with Ginny Brister, for instance, or this
other cat that you're talking-

James Garretson (02:29:47):
Yeah.

Agent Matthew Bryant (02:29:48):
... whatever the name is. What is her name, Jordan?

Paul Malagerio (02:29:50):
Jenny

Agent Matthew Bryant (02:29:51):
Jenny?

Paul Malagerio (02:29:52):
Yeah.

Agent Matthew Bryant (02:29:52):
But who's the other one?


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Paul Malagerio (02:29:53):
Tracie Perry.

Agent Matthew Bryant (02:29:54):
Oh, Tracie Perry.

Paul Malagerio (02:29:54):
Tracie Perry's the other one.

Agent Matthew Bryant (02:29:55):
These folks here, the tough part to get to them... We want Joe, and we want Omar. So, if she's peddling
monkeys for Omar, and Omar says, "Here, I've got five monkeys. I need you to sell them"? Stick on Omar
for a minute, but it'll be the same scenario. So, Tracie contacts and finds a buyer for the monkeys. She
sets up what the deal is, what the price is going to be, and she delivers the monkeys to you, across state
lines. You pay her money. She can go back, if there's no forms that Omar has created, where he has
knowledge that there was an interstate transfer? Then Omar's out at the end. It's going to be, "Yeah,
she sells monkeys for me, but I mean, certainly, if it's only within the State of Texas, because interstate
transfer of an endangered species is illegal."

James Garretson (02:30:49):
Oh, yeah. And you know that's Joe [crosstalk 02:30:50].

Agent Matthew Bryant (02:30:50):
"And so I had no idea."

Paul Malagerio (02:30:51):
And he's not going to drive out of state and deliver it.

Agent Matthew Bryant (02:30:51):
Yeah.

Paul Malagerio (02:30:51):
He's too smart for that.

James Garretson (02:30:54):
Joe's still playing the victim. He's going to be like, "I never knew they were out of state."

Agent Matthew Bryant (02:31:00):
That's what would have to be done. So, I buy a cub from Joe, through Jane, who's brokering cubs for Joe,
like the scenario that you have set up on your phone.

Paul Malagerio (02:31:07):
Yeah.

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Agent Matthew Bryant (02:31:09):
We have to be able to show and to prove that Joe knew that the cat that he was giving to Jenny, that
Jenny was selling on his behalf, was being brokered to a person out of state; Joe had knowledge about
it; and Joe received funds from that, knowing that the cat crossed state lines.

Paul Malagerio (02:31:29):
So, Jenny and Joe have to have a conversation that you hear? Where he admits that?

Agent Matthew Bryant (02:31:34):
Yep. Or Joe creates a form for Jenny.

Paul Malagerio (02:31:38):
Is that how he's doing it? He's filling the forms and giving it to her?

Agent Matthew Bryant (02:31:41):
Here's what I know recently-

James Garretson (02:31:42):
And how about-

Agent Matthew Bryant (02:31:46):
... at the end of December, a five-month-old tiger and a five-week-old tiger, the Bristers were hauling
this cat for Joe. These cats for Joe. Joe created a transfer form from Joe Exotic to David Anderson. Wrote
down a USDA number down in Mission, Texas. Halfway down there, Brister contacts this guy named
Hernandez, says, "Hey, I've got tigers. Told that you maybe wanted on." He says, "Yeah, I've been
wanting a cub." He brings him the five-month-old one, he says, "No, this thing is too big." He says, "I
don't want this. I don't time to deal with [inaudible 02:32:27]." Brister says, "Well, you keep it. Try to sell
it. I want $2500 when you sell it. Anything above that? You can keep for yourself." Whereas the five
month one, or the five-week-old one went? We believe it went down to another place.

Agent Matthew Bryant (02:32:45):
So Joe, my theory is, Joe's got with the Bristers. Brister says, "Yeah, we can get rid of a couple of tigers."
Joe creates a form, with a made up name, this David Anderson, with a made up USDA number. So while
the Bristers are moving these cats down there, if they get caught with anything? They have paperwork
covering them as a transport company. And when they get down there, they get on the phone and start
trying to find buyers.

Paul Malagerio (02:33:13):
Ah.

Agent Matthew Bryant (02:33:15):
Same scenario with the Bristers and these no-arm lemurs.

James Garretson (02:33:20):

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Yeah, the blue... Yeah, just trying to sell them.

Agent Matthew Bryant (02:33:24):
So, the scenario that I just described, it's good because I have a form from Joe, in Joe's handwriting. A
false document because it's a made up name, made up USDA number, and it lists the address in Texas.
Joe knows the cats were going to Texas. It doesn't say donation on there. It doesn't say anything. But
anyway, I can make it that I know it's a commercial transaction, because the Bristers know that they're
trying to sell it. So, I can tie that instance back to Joe, interstate commerce, endangered species, and
commercial [inaudible 02:34:02].

Paul Malagerio (02:34:02):
So, you have that?

Agent Matthew Bryant (02:34:05):
I have that in that there. But another deal with the Bristers like the tiger deal that you're poised to make
happen, we're missing that link where Joe doesn't know that it's going interstate. And that's what we
want to do.

James Garretson (02:34:23):
Hey... what if theoretically, if we were to set someone up like that, and I was in his office when Joe took
the phone calls? From so and so, knowing so and so-

Agent Matthew Bryant (02:34:35):
See, if you did the cat... and you've already told him you're in Oklahoma? So if they brought you the cat,
and it's Oklahoma to Oklahoma residence?

Paul Malagerio (02:34:43):
Yeah.

Agent Matthew Bryant (02:34:44):
It's really not going to help us.

Paul Malagerio (02:34:46):
So, then next month I've moved.

Agent Matthew Bryant (02:34:49):
Well, then that's on you. But you could come back and say, "Look, I had a little bit of an issue. I now live
in Texas."

Paul Malagerio (02:34:55):
Yeah.

Agent Matthew Bryant (02:34:56):
And gave a fake address in Texas where you live?
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Paul Malagerio (02:34:59):
Yeah.

Agent Matthew Bryant (02:34:59):
And the cat that they were bringing you, if we knew the cat that they were bringing you came from Joe-

Paul Malagerio (02:35:04):
Right.

Agent Matthew Bryant (02:35:05):
And Joe knew that the cat that the Bristers were taking was going to Texas, and Joe knew that money
from this transport was coming back to him? There's another felony.

Paul Malagerio (02:35:15):
So it has to cross a state line-

Agent Matthew Bryant (02:35:16):
Yeah.

Paul Malagerio (02:35:16):
That's what you want? Okay.

Agent Matthew Bryant (02:35:21):
All federal laws, pretty much... not all, but most federal laws govern interstate commerce, and that's
where the federal side comes in. Because you could sell an endangered species in Oklahoma. A
federally-listed endangered species. But you can't sell one in interstate commerce.

James Garretson (02:35:41):
But why doesn't he sell anytime? It was just like how is he going to wiggle out of that one when they
said, "Have you ever sold a cub?"

Agent Matthew Bryant (02:35:50):
And probably he has this ruse or this scheme in his mind, that he uses that for all sales that would
normally be legal, but he turns the legal sale into something illegal, because he creates false documents
and so forth.

Paul Malagerio (02:36:08):
Yeah. So, what-

Agent Matthew Bryant (02:36:12):
And like liligers and all that crap? They're so hard to touch. He could sell a liliger-

Paul Malagerio (02:36:16):

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To a Saudi Arabian king.

Agent Matthew Bryant (02:36:17):
Yeah. Or to somebody in Texas. Because it's not an ESA species.

Paul Malagerio (02:36:21):
Ah.

Agent Matthew Bryant (02:36:22):
That's why I'm telling you it's important for him to say "tiger." We want those words out of his mouth.
And he'll say, "Well, they're all crossed. They're this, that, and another, all mixed breeds." It's just
inevitable, "Why, if you call them a tiger, you believe them to be a tiger. And if you think they're a tiger?
The law's going to think they're a tiger."

Paul Malagerio (02:36:40):
Right.

Agent Matthew Bryant (02:36:40):
"And if you now want to use the deal..." and this is the ruse, or this is how we'll battle that... "You're
saying that this form here, where you sell the tigers from Oklahoma to Texas, you wrote tiger on here. Is
this your handwriting?" "Yes, it is."

Paul Malagerio (02:36:54):
But it's for a tiger.

Agent Matthew Bryant (02:36:55):
"But it is not a tiger. That's just the old cross thing. It's got lion in it." "So you're telling me this form is
false?"

James Garretson (02:37:03):
Oh, then you've got him on that.

Paul Malagerio (02:37:03):
Got him for fraudulent.

Agent Matthew Bryant (02:37:03):
"So, either we've got a false document?"

James Garretson (02:37:05):
Oh, that's [crosstalk 02:37:06]-

Agent Matthew Bryant (02:37:05):



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"Or you're claiming the DNA exemption? Are you claiming the hybrid exemption? And that's on you to
prove? So, you've got to pick one of them."

Paul Malagerio (02:37:14):
Yep.

Agent Matthew Bryant (02:37:17):
So, we want tiger or lemur.

James Garretson (02:37:21):
Lemur.

Agent Matthew Bryant (02:37:21):
Endangered species, interstate commerce, commercialization. And we want as many as those as we can.
What I'm currently working on-

James Garretson (02:37:38):
Is it is just one a felony?

Agent Matthew Bryant (02:37:43):
Yep. The one with the-

James Garretson (02:37:43):
But that's federal, so it's a whole different than a state felony?

Agent Matthew Bryant (02:37:48):
Well, a felony's a felony. But yeah, you're in federal court.

James Garretson (02:37:49):
But on a federal level is a whole different ballgame. It's time for time.

Agent Matthew Bryant (02:37:53):
Like the deal you are mixed up in with this lemur. Omar, you, and Joe, conspiracy to violate the Lacey
Act, to get an endangered species across state lines, for commercial purposes. Joe created false forms.
And we've been through that.

James Garretson (02:38:19):
Yeah.

Agent Matthew Bryant (02:38:19):
You know where you're at. The US attorney's office knows where you're at on it, so we're not-

Speaker 10 (02:38:26):

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Yeah, didn't he say that she was born at his place in [crosstalk 02:38:26]-

Agent Matthew Bryant (02:38:26):
Yeah.

James Garretson (02:38:26):
Yeah.

Agent Matthew Bryant (02:38:26):
So he created all the false documents.

Speaker 10 (02:38:27):
Yeah.

Agent Matthew Bryant (02:38:28):
For that.

James Garretson (02:38:29):
The lemur came from Omar's. Joe said it was breed at this place. Joe gave me a form donating the lemur
to me at his place.

Paul Malagerio (02:38:36):
So, that's a felony, right?

Agent Matthew Bryant (02:38:37):
Yeah.

Brittany Medina (02:38:37):
Yeah.

Agent Matthew Bryant (02:38:38):
Because he paid the Bristers money, and the Bristers hauled it from Omar up here.

Brittany Medina (02:38:44):
Yeah, they traveled.

James Garretson (02:38:46):
And then since then, they've been contacting me on every time they want to get rid of a monkey or
something, and they say, "Hey, I got this. Good price."

Agent Matthew Bryant (02:38:53):
The Bristers?


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James Garretson (02:38:53):
Yeah. "I got this, good price. This, good price."

Paul Malagerio (02:38:57):
And they're going to get it from Omar and bring it up here.

James Garretson (02:38:58):
Yeah.

Paul Malagerio (02:38:58):
So, they're committing-

Agent Matthew Bryant (02:38:59):
So, they're brokering-

James Garretson (02:39:00):
I could buy any kind of monkey I want now.

Brittany Medina (02:39:01):
They don't [crosstalk 02:39:02] put it in Texas message, "Oh, we're coming from Texas." They'll put it out
there. Because she came from Texas, through Joe's connections.

Agent Matthew Bryant (02:39:09):
Yeah.

James Garretson (02:39:09):
He might have sent the... like a gibbons would end up here, from Omar.

Paul Malagerio (02:39:14):
Mandrill. I want a Mandrill.

James Garretson (02:39:14):
A nice little gibbons.

Agent Matthew Bryant (02:39:17):
So, that's where I'm at. And I'm currently trying to track the money, like all of the credit card machine
deposits.

Paul Malagerio (02:39:25):
The what?

Agent Matthew Bryant (02:39:26):


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I'm trying to track all those deposits now, so it'll show the $ 3,000 credit card transaction on August the
2nd, 2016 from John Doe in Texas. Then I'll go back to my spreadsheet that I have going and go, "Okay, I
have two tigers going to John Doe in Texas, and the form says donation, and this form is dated August-

Paul Malagerio (02:39:53):
So you haven't pieced all the money [crosstalk 02:39:54]-

Agent Matthew Bryant (02:39:54):
Rocket science.

Speaker 10 (02:39:58):
He's got to make sure there's no wiggle room for him to get out of it.

Agent Matthew Bryant (02:39:59):
Yeah, so now I've got, at the same time period, the same names, I've got money going back and forth, so
then when we get to court we just go, "On this date, $3,000... which is about the going rate for this type
of tiger, at this point in time... came from this person to this person, at the same time, Joe, that you
transferred a tiger from your place to this place, and on the form you wrote-

Brittany Medina (02:40:20):
Because he's going to lie at first.

Agent Matthew Bryant (02:40:20):
... 'donation.'"

Brittany Medina (02:40:20):
Yeah, he's going to lie at first, and then you're going trap him.

James Garretson (02:40:26):
Do you think the IRS will ever move in on it too?

Agent Matthew Bryant (02:40:27):
I think so, but we don't want them on it right now, because they'll slow it all down.

James Garretson (02:40:30):
Really?

Agent Matthew Bryant (02:40:31):
We want to get our pound of flesh, and then turn it over to the IRS, and then let them-

James Garretson (02:40:35):
They'd have a fricking field day.


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Agent Matthew Bryant (02:40:36):
... go back through all the money that we've been able to show as income.

Paul Malagerio (02:40:40):
Yeah.

Brittany Medina (02:40:40):
Yeah.

Agent Matthew Bryant (02:40:40):
And then look at what he has filed.

Paul Malagerio (02:40:43):
How would they have a rebuttal to that when there's... How many do you have? 100 of those?

James Garretson (02:40:46):
Oh, he's going to have a rebuttal.

Paul Malagerio (02:40:48):
The ATM things. So how do you say, "Oh, no. No, someone had a great day at the zoo and gave us
$3,000."

James Garretson (02:40:53):
This is the rebuttal. Here's his rebuttal. "That's Jeff Lowe's account. I'm just a manager-

Brittany Medina (02:40:56):
And then Jeff Lowe's going to get in the deep end. He's going to be like, "No, this is all-

Agent Matthew Bryant (02:41:00):
That's what's going to happen. It's going to take Jeff Lowe, going to be his scapegoat. "I don't do
anything, I'm just the entertainment director. This is all Jeff Lowe's. He tells me what to do." "Okay, Jeff
Lowe, now you're involved in the indictment." Or hopefully, we indict them all. And then at the end-

Brittany Medina (02:41:16):
And then Jeff will try to hop on your side.

Agent Matthew Bryant (02:41:18):
Yeah, you say, "Jeff, you want to go down with him? Or do you want to play on Team USA?"

Paul Malagerio (02:41:23):
He's already singing.

Agent Matthew Bryant (02:41:24):

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Yeah.

Brittany Medina (02:41:25):
Yeah.

Agent Matthew Bryant (02:41:25):
And I think-

Brittany Medina (02:41:27):
And he'll be all USA in a heartbeat.

James Garretson (02:41:29):
I don't know. I don't think he's coming around. [crosstalk 02:41:29]

Brittany Medina (02:41:29):
I don't think he'll go to jail for Joe.

James Garretson (02:41:30):
I don't know. Man, I'm having mixed reviews on the Jeff Lowe situation.

Brittany Medina (02:41:34):
You think he'll-

Agent Matthew Bryant (02:41:35):
You told me at one time-

James Garretson (02:41:36):
I know. Yeah, but-

Agent Matthew Bryant (02:41:37):
... that if the heat goes down on Jeff, that he'll sing on Joe.

James Garretson (02:41:40):
That's what I thought. But then after seeing everything, and being in deeper with it-

Brittany Medina (02:41:44):
I mean, because if he goes down with Joe, he's going to go down.

James Garretson (02:41:45):
Yeah, but then I'm just like-

Brittany Medina (02:41:45):
Because he's technically the owner, you know?
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Paul Malagerio (02:41:45):
Jeff's already got a criminal record.

James Garretson (02:41:51):
Yeah, but I just don't... Man, I don't know. At first, I was just like, "Yeah, Jeff's going to sing like a choir,"
but now, after seeing his real, true colors? He's as bad as Joe.

Paul Malagerio (02:41:58):
He'll do what's best for Jeff.

James Garretson (02:41:59):
He's making phony fucking shoes and selling them as Prince gear.

Brittany Medina (02:42:03):
Yeah, but I think if you get caught, and you feel like you're going to be doing a lot of time, and have to
pay off everything? That you're going to throw Joe under the bus.

Agent Matthew Bryant (02:42:11):
Yeah, and then my deal, and my big push is going to be this. Once we get felony convictions on them,
will they serve a lot of time? Who knows? I doubt it. At the end of way, it's wildlife violations, so they'll
become felons. They'll get a little bit of time. I'm hoping the USDA will revoke any permit or-

Brittany Medina (02:42:29):
Yeah, [crosstalk 02:42:30]-

Agent Matthew Bryant (02:42:29):
... option for them to ever hold a permit-

Paul Malagerio (02:42:31):
They're not allowed to possess animals. No more sales of nothing.

Agent Matthew Bryant (02:42:32):
Yep. And so then, what'll they do?

Brittany Medina (02:42:32):
I think that's better than the jail time.

Paul Malagerio (02:42:35):
They'll start a singing career. Probably not dancing for Jeff [crosstalk 02:42:38]-

Brittany Medina (02:42:38):
Well, that's better than jail time, if they can't have any access to animals-


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Agent Matthew Bryant (02:42:40):
Yep.

Brittany Medina (02:42:41):
... because it's all for the safety of a animals, really.

Agent Matthew Bryant (02:42:43):
Mm-hmm (affirmative).

James Garretson (02:42:45):
Yeah, but I'm sure there's... I mean, you see people doing tax evasion doing big time.

Agent Matthew Bryant (02:42:49):
Yeah. If you can get them that. And I'm saying-

James Garretson (02:42:52):
And those [crosstalk 02:42:52] taxes.

Agent Matthew Bryant (02:42:53):
... if you get them with the wildlife stuff now? And six months, a year in jail, something like that, or
probation for five years, that they can't do anything wrong.

Brittany Medina (02:43:02):
And then, you don't know what the IRS is going to do.

Agent Matthew Bryant (02:43:04):
Getting the USDA and stuff to exempt them. And then the IRS comes in there.

Brittany Medina (02:43:08):
And that's the [crosstalk 02:43:08].

Agent Matthew Bryant (02:43:08):
And give them a couple of years to go through all their books, and then files a bunch of tax evasion stuff
on them.

James Garretson (02:43:14):
Yeah.

Agent Matthew Bryant (02:43:15):
And then they've already got a felony from the wildlife stuff on. By the time they file? They're already
convicted felons-

Brittany Medina (02:43:23):

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So it's worse.

James Garretson (02:43:24):
Do you think that PETA and them are going to strike a deal? I'm just having a bad feeling, like that she's
going to strike a fucking deal. Because that motherfucker [inaudible 02:43:28] she was a pile, a bag of
cash. I think I'm going to go slap some sense into them.

Agent Matthew Bryant (02:43:48):
I don't think they'll reach a deal. And the reason they won't reach a deal, because Baskin and them will
never agree to a deal with PETA that Jeff Lowe will not be a signatory on, because he owns the place,
and the Baskins will never agree to a deal where Joe is allowed to retain any residence or property-

Paul Malagerio (02:44:08):
Right. Right.

Agent Matthew Bryant (02:44:09):
... at the zoo.

Paul Malagerio (02:44:09):
Because Baskin's deals are, "You can't possess animals after signing it," right?

Agent Matthew Bryant (02:44:14):
Yep. They... That's it, you can't... not so much possess. You can possess, but you can no longer breed and
sell.

Paul Malagerio (02:44:20):
Right.

Agent Matthew Bryant (02:44:21):
You can no longer breed.

James Garretson (02:44:25):
But honestly? Just from my regard in this. Why is the Baskins any better than anybody else?

Agent Matthew Bryant (02:44:32):
They run a true sanctuary. I don't know about all that.

James Garretson (02:44:38):
They run a scam-tuary.

Agent Matthew Bryant (02:44:39):
Maybe so. And I don't want to... I don't believe they are as dirty as manipulating the system and the
games as Joe-

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James Garretson (02:44:52):
Oh, no, no, no.

Agent Matthew Bryant (02:44:53):
... Jeff, Omar-

Paul Malagerio (02:44:55):
Doc.

Agent Matthew Bryant (02:44:55):
... Tim Stark.

James Garretson (02:44:56):
Exactly.

Agent Matthew Bryant (02:44:56):
Antle.

Paul Malagerio (02:44:57):
Yeah.

Agent Matthew Bryant (02:44:58):
They're going to... And they're politically connected. They've got money. They're educated. He's an
attorney. They'll-

Speaker 10 (02:45:06):
They're in a different-

James Garretson (02:45:06):
Oh, that Howard was an attorney?

Agent Matthew Bryant (02:45:10):
Mm-hmm (affirmative).

James Garretson (02:45:10):
Oh.

Paul Malagerio (02:45:11):
What's [inaudible 02:45:12] an attorney?

Agent Matthew Bryant (02:45:12):
I don't know, big-time attorney from DC.

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Paul Malagerio (02:45:14):
Really?

Agent Matthew Bryant (02:45:14):
I think, well mostly civil litigation. Yeah, he's a... You can tell when you-

Paul Malagerio (02:45:21):
Joe told me he liked him. He said they were at discovery, and he sat and talked for an hour. He said,
"That Howard wasn't the bad guy. We had a long talk one day, blah, blah, blah, blah, blah, blah-

James Garretson (02:45:27):
Well, you've got to think Baskin-

Brittany Medina (02:45:28):
Right. He's smarter than them?

James Garretson (02:45:29):
... did the same thing years ago. She bred. She bred and then she'd get fined. But it wasn't profitable
unless you're selling a ton of cubs. So she's changed her views. Well now, bashing everybody else makes
her rich. Well, they can take in 3.5 million, pay off 700 in animal care, have shitty ass, rusty cages, the
state don't bother them, USDA don't bother them. I mean, they have it pretty easy.

Brittany Medina (02:45:55):
She was on a different level as Joe, though.

James Garretson (02:45:55):
But if James, or Brittany, or Paul builds a tiger cage that rusts to the ground like Baskins?

Paul Malagerio (02:46:03):
Yeah. Yeah.

James Garretson (02:46:03):
And then they give us the fricking-

Paul Malagerio (02:46:04):
Mm-hmm (affirmative). Yeah. It appears they have that get out of jail for free card.

James Garretson (02:46:08):
But Joe is, I mean... I don't know.

Agent Matthew Bryant (02:46:11):
Baskins for me? For me, I've got to pick... Baskins is a tool I need to get to Joe.


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James Garretson (02:46:18):
Yeah, yeah, yeah.

Agent Matthew Bryant (02:46:20):
Whatever they're doing wrong? I don't believe is going to be worth my time-

Paul Malagerio (02:46:25):
Right.

Agent Matthew Bryant (02:46:25):
... in comparison with the Omar, and the Starks, and the Antles, and the Joes.

Brittany Medina (02:46:27):
Yeah.

James Garretson (02:46:29):
I wonder if Omar has drug money and stuff. It just seems like... If you have that many monkeys having
babies? That is a lot of fricking money.

Agent Matthew Bryant (02:46:33):
A lot of money.

James Garretson (02:46:36):
I mean, a basic monkey's five, 6,000 bucks.

Brittany Medina (02:46:41):
God damn.

James Garretson (02:46:41):
You know? And if you 'have 300? Or 200?

Brittany Medina (02:46:44):
A year? Or a month?

James Garretson (02:46:46):
Whatever.

Paul Malagerio (02:46:47):
Mandrills are worth $25,000.

James Garretson (02:46:47):
Just like chimps right now are $80,000.

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Brittany Medina (02:46:51):
Chimps?

Agent Matthew Bryant (02:46:51):
The word I have on Omar is that he does have breeding pairs of monkeys, and he is legitimately
breeding, but he helps his breeding success by getting them brought across the border to him.

James Garretson (02:47:07):
Oh, yeah.

Paul Malagerio (02:47:07):
Monkey mules.

Brittany Medina (02:47:09):
Yeah, he can't sell that much in a state [crosstalk 02:47:09].

James Garretson (02:47:09):
Is that a pretty serious violation? Or is it-

Agent Matthew Bryant (02:47:11):
That's great. That's smuggling. What is better than getting smuggling of endangered species?

Paul Malagerio (02:47:19):
Well, which one makes more money, endangered species or drugs? I hear they're both hand in hand in
smuggling.

Agent Matthew Bryant (02:47:24):
Well, they actually-

James Garretson (02:47:27):
But I just don't understand how they are-

Agent Matthew Bryant (02:47:29):
You'll go overlay them, because people smuggle drugs to get endangered species. And then they sell
endangered species to get drugs. And it's all-

Brittany Medina (02:47:39):
A little cycle.

Paul Malagerio (02:47:39):
Really?

Agent Matthew Bryant (02:47:40):

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Yeah.

James Garretson (02:47:40):
Yeah. You know that's how I bought my first lion? I actually opened the Dallas classifieds. I was 17. I
opened the classifieds. They used to have exotic animals in the Dallas classifieds. Back then, you know
25 years ago, it was basically lions, tigers... Everything was for sale in the classifieds. I actually bought a
lion and lived in an apartment complex in DeSoto, Texas.

Brittany Medina (02:48:05):
You're so weird.

James Garretson (02:48:06):
And bought a damn lion cub. I think it was at the going rate. They were like 300, $400.

Paul Malagerio (02:48:10):
Wow.

James Garretson (02:48:12):
You know? But you could buy them-

Brittany Medina (02:48:13):
He was born weird.

Agent Matthew Bryant (02:48:18):
Well-

James Garretson (02:48:18):
Hey, it's better than a drug habit.

Agent Matthew Bryant (02:48:20):
... to go back over what we did. I'm going to ask you to get your notepad, think about our discussion
today. So anything that jumps into your mind, just jot it down, and then one day we can go back over it,
and figure some stuff out.

Paul Malagerio (02:48:33):
Yep.

Agent Matthew Bryant (02:48:33):
Money transfers, false documents are the name of the game.

James Garretson (02:48:41):
Hey, does Thompson's wife pick up money and stuff for Joe?


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Paul Malagerio (02:48:44):
Yep.

James Garretson (02:48:45):
Misha?

Paul Malagerio (02:48:45):
Post office, bank.

James Garretson (02:48:47):
I didn't even give you that name. The Misha-

Paul Malagerio (02:48:48):
Milicia Thompson.

James Garretson (02:48:48):
Milicia Thompson.

Paul Malagerio (02:48:49):
She's the notary that runs the office.

James Garretson (02:48:53):
She does all the notary and all that stuff.

Paul Malagerio (02:48:54):
You can't miss her. You couldn't get past her.

James Garretson (02:48:56):
She's a ugly ass woman.

Agent Matthew Bryant (02:48:56):
Milicia?

Paul Malagerio (02:48:58):
Milicia, yep. C- I-A at the end. Thompson. MEL-

James Garretson (02:49:06):
I-C-I-

Paul Malagerio (02:49:06):
... E-C-I-A. I? Is it I? Milicia, I-C-I-A.

James Garretson (02:49:09):
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She's on my Facebook.

Agent Matthew Bryant (02:49:13):
So she needs to be the one for money wires?

Paul Malagerio (02:49:15):
Yep. She's a notary.

Agent Matthew Bryant (02:49:17):
Okay.

Paul Malagerio (02:49:20):
So, September 15 I get a call, "Hey, Paul, come to the office." He goes, "You got a driver's license?" I says
"Yeah." He goes, "I'm glad somebody around here's got an ID." None of the staff... he had felons,
junkies, drunks... have driver's licenses. So I go, "What do you need it for?" He goes, "You're witnessing
my marriage certificate." He goes, "Give it to Milicia," so she copies it down and notarized it, so my
signature's on Joe's freaking marriage certificate to Travis.

Paul Malagerio (02:49:41):
So, I end up in the park at Pauls Valley. I'm this Canadian guy, down in the States, and I'm standing there.
Mark's there, Milicia's there. Travis and Joe and there. And the guy reading the whatever? Is Tim [Seppy
02:49:53].

Agent Matthew Bryant (02:49:52):
Oh, my gosh.

Paul Malagerio (02:49:54):
And I'm looking up, I'm going, "How the fuck did I get here?"

James Garretson (02:49:56):
Yeah.

Agent Matthew Bryant (02:49:58):
That's crazy.

James Garretson (02:50:00):
I wonder how dirty Mark is? Mark's like a real dirty cop.

Agent Matthew Bryant (02:50:07):
He's one that I want.

Paul Malagerio (02:50:07):
He tells Joe everything.

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James Garretson (02:50:10):
Because I know he runs people for Joe and all this stuff. Because Joe always said, "I'd find out. I'd get
whatever."

Paul Malagerio (02:50:17):
Yeah, and I think more about Mark. He told me a lot of stuff he shouldn't have. Joe would go up and say,
"Mark, Mark, I need a shot of the..." Finnegan, what I used to call it. And then Mark told me this straight
up, sort of [inaudible 02:50:28]. He goes, "That stupid Joe's so fucking stupid, you know what I did the
other day?" I go "What?" He goes, "Well, he calls me up there because he needs this shot, because he
feels sick to his stomach." He goes, "I gave him to CCs of saline solution and 10 minutes later Joe goes,
'Oh, Mark, I just feel fucking great right now. That's just... Thanks, man, I'm going to need it like that.'"
I'm going, "Are you kidding me?" He goes, "No. He's so fucking stupid, isn't he." This is how Mark would
talk about him to me.

James Garretson (02:50:49):
And Paul backed that up about the IV chair, the leather chair that he sits in for the treatments? It's in his
house.

Agent Matthew Bryant (02:50:55):
What is the... besides the Jenny and Mike Brister, what's that other you said?

Paul Malagerio (02:51:00):
Tracie Perry.

Agent Matthew Bryant (02:51:01):
Tracy? T-R-A-C-E-Y?

Paul Malagerio (02:51:03):
Yeah, Perry. I think it's I-E. or it might be E-Y. She's on Facebook. She transports for Omar.

Agent Matthew Bryant (02:51:11):
Mm-hmm (affirmative).

Paul Malagerio (02:51:13):
And also helped out Trish. And I'm not sure of her dealings with Joe. I got no knowledge on that.

Agent Matthew Bryant (02:51:19):
How do you think Trish paid for... Trish Meyers, that's it. And it's Patricia? Or Trish?

Paul Malagerio (02:51:26):
Trish. T-R-I-S-H M-E-Y-E-R.

Agent Matthew Bryant (02:51:29):

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How do you think she paid for those? Cash? Or do you think she wired money?

Paul Malagerio (02:51:33):
For what?

Agent Matthew Bryant (02:51:34):
The tigers that Trish has been buying.

Paul Malagerio (02:51:38):
Oh, that's interesting. Trish would probably pay when they arrived, whoever transported them. I really
hope that Trish gets the opportunity to be helpful, rather than to go away.

Agent Matthew Bryant (02:51:58):
Yeah.

Paul Malagerio (02:51:58):
I really hope so, because I would carry her flag.

Agent Matthew Bryant (02:51:59):
Mm-hmm (affirmative).

Paul Malagerio (02:51:59):
She asked me, actually when I was there, she says, "I've got someone who wants to back me to start a
zoo. Would you come work for us?" I said, "If you take care of animals, the way you take of these? I will
support you."

Agent Matthew Bryant (02:52:09):
Yeah.

Paul Malagerio (02:52:09):
And that's from my heart. That's the kind of person she is.

James Garretson (02:52:12):
Oh, my God.

Paul Malagerio (02:52:12):
If I saw anything otherwise?

Agent Matthew Bryant (02:52:14):
Yeah.

Paul Malagerio (02:52:14):
I wouldn't say anything nice about her.

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Agent Matthew Bryant (02:52:16):
Well, I'd like to figure to... I'd like to get her on our side of the table one day.

Paul Malagerio (02:52:21):
Yep. If I could be of any help for that? I will not be talking to her. Let me know what I can do, and I will
certainly put the word to her and say, "Hey, fuck him."

Agent Matthew Bryant (02:52:30):
Yeah.

Paul Malagerio (02:52:30):
"Keep your head above water." She's on probation for what they did to her in [inaudible 02:52:33]. She
can't be doing anything. That's why she's not doing tigers or nothing right now. And I told her months
ago, I said, [inaudible 02:52:42]. "Oh, Joe and I made up. He likes-

                                         PART 5 OF 5 ENDS [02:52:44]




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